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                          EXHIBIT B
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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA


      1199SEIU UNITED                        )
      HEALTHCARE WORKERS EAST,               )
                                             )
             Plaintiff,                      )
                                             )   No. 1:20-cv-24069-RNS
             v.                              )
                                             )
      LOUIS DEJOY, Postmaster                )
      General and Chief Executive            )
      Officer of the United States Postal    )
      Service; and the UNITED STATES         )
      POSTAL SERVICE,                        )
                                             )
            Defendants.                      )

      DECLARATION OF DANIEL A. SMITH IN SUPPORT OF PLAINTIFF’S
          EMERGENCY MOTION FOR PRELIMINARY INJUCTION

              I, Daniel A. Smith, hereby declare and state as follows:


             1.    I am Professor and Chair of Political Science at the University of

      Florida (“UF”). I received my Ph.D. in Political Science from the University of

      Wisconsin-Madison in 1994.        I served as the Director of UF’s Political

      Campaigning Program (2007-2011), which offers a Master of Arts degree in

      political science with a special emphasis on political campaigning and practical

      politics. I am also President of ElectionSmith, Inc., a consulting firm based in

      Gainesville, FL, specializing in empirical research on electoral processes in the

      American states.

             2.    For more than two decades, I have conducted research on electoral

      politics in the American states, focusing on the effect of political institutions on
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      political behavior.   I am widely regarded as a leading expert on voting and

      elections in the American states. I have written extensively on electoral processes

      in the American states, including in Florida, publishing more than 80 articles and

      book chapters, including many that have appeared in the discipline’s top peer-

      reviewed journals. I have published two academic books on electoral politics in

      the American states and I am the coauthor of a leading college textbook, State and

      Local Politics: Institutions and Reform, which discusses voting rights in the states,

      including in Florida. In addition, I have taught an array of undergraduate and

      graduate courses focusing on American political institutions and political behavior

      in the American states.

             3.    I have served as an expert in election-related litigation in several

      states, hired by both plaintiffs and defendants (including serving as an expert for

      the State of Florida and the State of California defending their election laws). Most

      recently, I provided written reports and testified at trial for plaintiffs in Jones v.

      DeSantis (Case No. 4:19-cv-00300). Among other reports, I have also provided

      written reports and testified at trial for the successful defendant-intervenors in

      American Civil Rights Union v. Snipes (Case No. 16-cv-61474, S.D. Fla.), where

      the court accepted my opinion in whole, and provided written reports for

      successful plaintiffs in DNC Services Corporation et al. v. Lee et al. (Case No. 4:18-

      cv-520-RH-MJF, N.D. Fla.), and MOVE Texas Civic Fund, et. al. v. Whitley, et. al.

      (Case No. 3:19-cv-00041, S.D. Tex.); for defendants in the settlement of Judicial

      Watch, Inc., Election Integrity Project California, Inc., et al. v. Dean C. Logan, et



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      al. (Case No. 2:17-cv-08948-R-SK, C.D. Cal.); for successful plaintiffs in Rivera v.

      Detzner (Case No. 1:18-cv-00152, N.D. Fla.); for successful plaintiffs in the U.S.

      Court of Appeals for the Sixth Circuit in Ohio A. Philip Randolph Institute, et al.

      v. Secretary of State, Jon Husted (Case No. 2:16-cv-00303, S.D. Ohio), where the

      court accepted my opinion in whole; for successful plaintiff-intervenors in Florida

      Democratic Party v. Scott (Case No. 4:16-cv-00626, N.D. Fla.); for successful

      plaintiffs in Florida Democratic Party v. Detzner (Case No. 4:16-cv-00607, N.D.

      Fla.); and for successful plaintiffs in League of Women Voters of Florida v. Detzner

      (Case No. 4:18-cv-00251, N.D. Fla.).

             4.    My curriculum vitae (including a list of cases in which I have served

      as an expert witness) is provided in Appendix 1. I am being paid $500 an hour for

      work in this case, plus any related expenses.

             5.    In formulating my opinions in this report, I draw on standard sources

      in political science analyses, including, but not limited to: publicly available data

      and reports produced by the Florida Division of Elections.

             6.    I am over the age of 18 and competent to make this Declaration. The

      statements contained in this Declaration are based on my personal knowledge and

      a review of relevant records, and public records. If called and sworn as a witness,

      I would and could testify competently to the matters set forth herein.




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              7.   Voting by mail in Florida, as well as in other states,1 has seen a

       massive uptick since the early spreading of the novel Coronavirus in the United




   1 In Georgia, see “Judge orders Georgia to extend deadline for absentee ballots,” AP
   News, August 31, 2020, available at
   https://apnews.com/article/c7dc45f6e37d3c743469978220754aa6 (last accessed
   September 25, 2020); in Maine, see, “Pandemic curbs Maine’s in-person primary
   election turnout, but many already voted absentee,” Bangor Daily News, available
   at https://bangordailynews.com/2020/07/14/politics/pandemic-curbs-maines-in-
   person-primary-election-turnout-but-many-already-voted-absentee/         (last
   accessed      August        11, 2020); in Nevada, see, “About 6,700 Nevada primary
   ballots rejected over signatures,” Las Vegas Sun, June 24, 2020, available at
   https://lasvegassun.com/news/2020/jun/24/about-6700-nevada-primary-ballots-
   rejected-over-si/ (last accessed August 11, 2020); in Nebraska, see, “Nebraska
   primary voters avoid polls, shatter mail-in record,” AP.com, May 12, 2020,available
   at https://apnews.com/75d78b971c7002fbff032e6421e72e11 (last accessed August
   11, 2020); in New Hampshire, see, “One in 10 Ballots Rejected in Last Month’s
   Vote-by-Mail Elections,” New Hampshire Union Leader, September 8, 2020,
   available at https://www.unionleader. com/news/politics/voters/absentee-ballots-
   fuel-turnout-in-tuesdays-state-primary- election/article_57cd86a3-76c1-51fa-8358-
   ba52cc865c36.html (last accessed September 25, 2020); in New Jersey, see, “One in
   10 Ballots Rejected in Last Month’s Vote-by-Mail Elections,” NJSpotlight, June 10,
   2020, available at https://www.njspotlight.com/2020/06/one-in-10-ballots-rejected-in-
   last-months-vote-by-mail-elections/ (last accessed August 15, 2020); in New York,
   see, “The Chaos in New York Is a Warning,” The Atlantic, July 24, 2020, available
   at https://www.theatlantic.com/politics/archive/2020/07/new-york-election-failure-
   mail-in-voting/614446/ (last accessed August 11, 2020); in Ohio, see, “The
   Cybersecurity 202: Ohio primary marks a major test for mail-in voting,” The
   Washington Post, April 28, 2020, available at
   https://www.washingtonpost.com/news/powerpost/paloma/the-cybersecurity-
   202/2020/04/28/the-cybersecurity-202-ohio-primary-marks-a-major-test-for-mail-in-
   voting/5ea779a3602ff1457841f982/ (last accessed August 7, 2020); in Pennsylvania,
   see, “Pennsylvania’s mail ballot problems kept tens of thousands from voting in a
   pandemic primary,” The Philadelphia Inquirer, July 30, 2020, available at
   https://www.inquirer.com/politics/election/pamail-ballot-deadlines-
   disenfranchisement-20200730.html (last accessed September 25,2020); in
   Wisconsin, see, “How Wisconsin’s 23,000 Rejected Absentee Ballots Could Spell
   Trouble For The November Election,” Wisconsin Public Radio, available at
   https://www.wpr.org/how-wisconsins-23-000-rejected-absentee-ballots-could-spell-
   trouble-november-election (last accessed August 7, 2020).

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       States in early Spring, 2020. The earliest positive cases of COVID-19 in Florida

       coincided with the March 17, 2020 Presidential Preference Primary (PPP).2

              8.    Not surprisingly, out of health concerns, millions of Florida voters

       relied on Florida’s vote-by-mail (VBM) system in the March primary. In the

       March 17, 2020 PPP, nearly 1.4 million Florida votes cast VBM ballots, which

       amounted to 46.5% of the total ballots cast in the election. This was an increase of

       more than 50% in the use of VBM ballots compared to the 2016 PPP, when just

       30.8% of all ballots cast were VBM ballots. Florida witnessed a similar explosion

       of VBM ballots cast in the August 18, 2020 Primary election. Out of the nearly

       3.9 million total ballots cast, 60.1% were VBM ballots, which was nearly a 50%

       increase in the share of VBM ballots cast in the August 2016 Primary election.3

              9.    The skyrocketing rise in the use of VBM ballots shows no sign of

       abating ahead of the November 3, 2020 General Election. Indeed, as of October



   2 See Governor Ron DeSantis, #2020-52 Executive Order re: Emergency
   Management – COVID-19 Public Health Emergency,” available at:
   https://www.flgov.com/wp-content/uploads/orders/2020/EO_20-52.pdf (last accessed
   October 14, 2020).
   3 Total vote counts can be found at the Florida Division of Elections (FDOE),

   “Election Results Archive,” available at
   https://results.elections.myflorida.com/Index.asp?ElectionDate=8/30/2016&DATAM
   ODE= (last accessed October 14, 2020). VBM totals can be found at the FDOE,
   “Archived Early Voting and Vote-by-Mail Statistics,” available at
   https://dos.myflorida.com/elections/data-statistics/elections-data/absentee-and-
   early-voting/ (last accessed October 14, 2020), except for the August 18, 2020
   Primary election, which have not yet been posted on this site. The VBM ballots cast
   in the August 18, 2020 Primary election can be found online at the FDOE, “Vote-by-
   Mail Request & Early Voting Statistics,” available at
   https://countyballotfiles.elections.myflorida.com/FVRSCountyBallotReports/Absente
   eEarlyVotingReports/PublicStats (last accessed October 14, 2020).

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       14, 2020, over 5.7 million VBM ballots have been requested by Florida voters. For

       comparative purposes, fewer than 3.5 million VBM ballots were requested by

       Florida voters in the 2016 General Election.4 This represents more than a 60%

       increase in the demand for VBM ballots by voters in the 2020 General Election

       when compared to the 2016 General Election.

              10.   The surge in the requests for VBM ballots by Florida voters ahead of

       the November 3, 2020 General Election will most certainly lead to record numbers

       of VBM ballots that arrive to SOE offices after the state’s 7 pm Election Day

       deadline, what are generally referred to a “late” ballots.5 As I have written

       elsewhere, “the potential for late—and thus uncounted—VBM ballots looms large.

       As has been widely reported, the United States Postal Service is under dire

       financial and staffing pressures. In several states, there have been reports of mail

       being delayed several days more than normal. Even a small perturbation in mail

       deliveries has the potential to wreak havoc on mail-in voting.”6




   4 VBM totals for the 2016 General Election can be found at the FDOE, “Archived
   Early Voting and Vote-by-Mail Statistics,” available at
   https://dos.myflorida.com/elections/data-statistics/elections-data/absentee-and-
   early-voting/ (last accessed October 14, 2020).
   5 In Florida, registered voters who are members of the military, their dependents, or

   are U.S. Citizens living abroad are protected under the Uniformed and Overseas
   Citizens Absentee Voting Act (UOCAVA) and may have their return ballots arrive
   at an SOE office up to 10 days after Election Day, so long as they are post marked
   or otherwise noted as being sent by the voter prior to Election Day. See Fla. Stat.
   101.6952.
   6 Michael C. Herron and Daniel A. Smith, “Minor postal delays could disenfranchise

   thousands of Florida vote-by-mail voters,” Tampa Bay Times, August 14, 2020,
   available at https://www.tampabay.com/opinion/2020/08/14/minor-postal-delays-
   could-disenfranchise-thousands-of-florida-vote-by-mail-voters-column/.
                                              6
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              11.   As of October 14, 2020, of the more than 5.7 million VBM ballots have

       been requested by voters registered in the state’s 67 counties, over 1.9 million

       VBM return ballot envelopes have been returned by voters to county Supervisors

       of Elections (SOEs). That leaves roughly two-thirds of the VBM ballots that have

       been requested by voters have yet to be received by SOEs.

              12.   There is considerable variation across the state when it comes to the

       roughly 3.8 million VBM ballots that SOEs have mailed to Florida registered

       voters, but that voters have yet to return to their SOEs. My colleague at UF, Dr.

       Michael P. McDonald, has been tracking these variations in returned ballots at

       his U.S. Elections Project.7 Although the overall return rate stands at 33.3% of

       requested ballots, there is considerable variation across the state’s 67 counties as

       Figure 1 reveals. In Seminole County, for example, only 15.9% of the more than

       127,000 requested VBM ballots have been returned by registered voters.           In

       Miami-Dade County, of the more than 638,000 voters who have requested a VBM

       ballot, more than 77% have yet to return their ballots to the SOE. It is likely that

       many of these voters have yet to receive their VBM ballots in these two counties.

       In Broward County, over 398,000 voters who have been mailed their VBM ballot

       have yet to return it to the SOE office. Several other counties have well over

       100,000 VBM ballots that have been sent to voters, but that have not yet been

       received by SOEs: over 283,000 in Pinellas County, over 262,000 in Hillsborough,



   7See Florida Early Voting Statistics, available at
   https://electproject.github.io/Early-Vote-2020G/FL.html (last accessed October 14,
   2020).
                                              7
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      over 235,000 in Orange County, over 136,000 in Brevard County, over 134,000 in

      Lee County, over 111,000 in Duval County, and over 104,000 in Volusia County.

                      [Declaration Continues on Next Page]




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          Figure 1: VBM Mail Ballots Requested and Returned in Florida




    Image from U.S. Elections Project, “Florida Early Voting Statistics,” available at
    https://electproject.github.io/Early-Vote-2020G/FL.html (last accessed October 14,
    2020).




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                    13.   In the coming days, thousands of more voters will continue to request

         to have their VBM ballots mailed to them. And it will be days before thousands

         more registered voters receive their VBM ballot that they requested to be mailed

         out by SOEs.8 Indeed, over 100,000 VBM ballots were mailed out by SOEs on

         October 13 and October 14, alone, to requesting voters. As of this writing, it is a

         virtual certainty that thousands of these voters have yet to receive their VBM

         ballots.

                    14.   In addition, over 52,000 VBM ballots that SOEs have mailed out to

         voters as of this writing have been returned by the USPS to SOE offices as

         “undeliverable.” Presumably, many of these voters, upon realizing that their

         ballot has not arrived (often because they have moved, and VBM ballots are not

         forwardable), would like to cure their VBM ballot. After they update their VBM

         address and request that a new VBM ballot is mailed to them, these voters will

         very well face a time crunch upon receiving their new ballot when returning it via

         post to ensure that it arrives prior to the state’s 7 pm Election Day deadline.




     8 The data that follow for the 2020 General Election, as well as the March 2020
     Presidential Preference Primary and August 2020 Primary are dawn from the daily
     vote-by-mail voter files created by Florida counties and submitted to the FDOE
     immediately preceding and after Election Day. Each file lists a code for every voter
     in every county who has requested a VBM ballot. Each file assigns a one-letter
     ballot status code for every voter listed in the file. I use the last daily absentee file
     created by each county, submitted to the FDOE approximately 15 days after
     Election Day, to determine the status of a voter’s VBM ballot. The final status code
     for each voter includes codes for VBM ballots that have been voted, provided,
     undeliverable, voter-caused error, missing signature, and cancelled.
                                                   10
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               15.   As such, there will be tremendous pressure on the Postal Service to

        ensure speedy delivery of VBM ballots being mailed out to and being returned by

        voters. Even the slightest postal delays could impact whether these voters receive

        a VBM ballot, or if they are able to return it by 7 pm on Election Day.

               16.   Of the nearly 6 million VBM ballots that have been requested by

        Florida voters as of this writing, over 1.9 million have already been returned to

        the 67 county Supervisors of Elections. But of these timely VBM ballots, not all

        are valid at this time. Thus far, SOE staff have flagged over 10,000 VBM ballots

        because they have a missing signature on the return envelope or a “voter-caused

        error.”9 These voters who have cast VBM ballots and that have arrived at the

        SOEs’ offices on time, but have been identified by staff as having a problem---once

        the county Canvassing Board formally determines that they are not valid---will

        presumably be offered the opportunity by their SOE to “cure” their VBM return

        envelope with a missing or a mismatched signature.

               17.   The opportunity for voters to cure their flagged VBM ballot return

        envelope may be several days, if not weeks, from now. According to Florida law,

        it is only “[a]s soon as practicable” that SOEs “must notify the elector of the



    9 A VBM ballot submitted by a Florida voter can be accepted, rejected on account of
    lateness, rejected because its envelope was unsigned, or rejected on account of
    another error. SOE’s refer to the latter rejected VBM ballots as having a “voter-
    caused error.” See “Absentee Ballot Request Information File Layout,” available at
    https://www.flrules.org/Gateway/reference.asp?No=Ref-06150 (last accessed October
    14, 2020). It is not always obvious that the errors classified in this way are truly
    voter-caused. I rely on the FDOE’s code, but do not endorse its implication that
    “voter-caused” errors are necessarily caused by a voter.

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         signature deficiency by first-class mail and direct the elector to the cure affidavit

         and instructions on the supervisor’s website. Beginning the day before the

         election, the supervisor is not required to provide notice of the signature deficiency

         by first-class mail, but shall continue to provide notice” via other mediums.10

         Many eligible voters who have cast a VBM ballot with a problem that can be cured

         with a cure affidavit will likely not have time to do so if USPS mail delivery

         experiences even the slightest delay.

                18.   Issues of USPS delays that may jeopardize the timeliness of VBM

         return ballot envelopes is not new in Florida. At the June 18-22, 2017 Annual

         Summer Conference held by the Florida Supervisors of Elections, Clay County

         Assistant Supervisor of Elections, Robin Conte, gave a PowerPoint presentation

         entitled, “Vote By Mail Envelope REDESIGN,” that included a slide entitled,

         “Shared Issues,” “Late Delivery.” Mentioned under “Late Delivery” was “Voter

         Responsible- Waits until the last minute,” as well as “USPS Responsible - A

         handful of ballots returned several weeks after the election; delivered by the USPS

         on the same day with varied post-election metered date.”11

                19.   Late arriving VBM ballots cast by domestic, non-military voters that

         are rejected are not hypothetical. Even if these voters mail their VBM ballot


    10See Fla. Stat. 101.68.
    11See “Vote by Mail Envelope REDESIGN,” Clay County Supervisor of Elections,
    Florida Supervisors of Elections 2017 Annual Summer Conference, June 18-22,
    2017, available at
    https://www.myfloridaelections.com/portals/fsase/Documents/Conference
    Presentations/Robin_Conte__VBM_Redesign_reduced.pdf?timestamp=14994336103
    34 (last accessed May 16, 2020).

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         return envelopes well before the state’s receipt deadline, if it is a single day late

         their vote will not count. Table 1 provides daily counts, starting 35 days before

         Election Day to 10 days after Election Day, of the number of VBM ballots that

         most SOEs received in the 2020 PPP and the 2020 Primary elections.12 As can be

         seen in Table 1, in both recent elections the number of ballots received by SOEs

         after Election Day (and that exclude UOCAVA voters) runs in the thousands of

         ballots. In the August 2020 Primary election, nearly 7,000 VBM ballots alone

         arrived one day late, and we thus were rejected. More than 4,000 additional VBM

         ballots arrived on Thursday, August 20; these ballots were all rejected.

                20.   In addition, there are also what we might call “nearly late” VBM

         ballots, that is, ballots arriving either on Election Day or the day prior to Election

         Day. These return VBM ballots are particularly vulnerable to even the slightest

         postal delay in arriving at county election offices by 7 pm on Election Day.




    12I limit the data to ballots that were received by SOEs 35 days prior to an election,
    which may exclude some ballots that were received and returned by UOCAVA
    voters. Not all SOEs report to the FDOE their daily ballots received after Election
    Day, so these numbers are conservative, as they do not include data from all 67
    counties.
                                                13
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                  Table 2: VBM Ballots Received by SOEs by Day,
                            2020 PPP and 2020 Primary
                           Days
                           before/after   2020      2020
                           Election       PPP       Primary
                           35             18,566    10,308
                           34             42,989    21,509
                           33             62,157    38,214
                           32             60,946    64,786
                           31             15,225    30,797
                           30             129       1,328
                           29             16,778    108,718
                           28             107,249   73,321
                           27             87,874    109,483
                           26             104,168   129,068
                           25             84,193    72,445
                           24             11,545    25,701
                           23             228       0
                           22             54,374    82,301
                           21             45,623    84,056
                           20             32,033    83,232
                           19             29,745    67,544
                           18             32,987    60,546
                           17             6,142     15,915
                           16             8         640
                           15             42,568    84,409
                           14             35,240    61,895
                           13             50,339    94,168
                           12             32,979    91,428
                           11             47,151    84,002
                           10             23,976    49,101
                           9              8,046     14,505
                           8              52,171    92,208
                           7              43,699    81,918
                           6              39,795    104,380
                           5              41,719    88,930
                           4              37,483    87,886

                                          14
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                               3             30,263     84,999
                               2             7,207      19,840
                               1             36,350     99,793
                               0             50,023     128,836
                               -1            3,355      6,936
                               -2            2,572      4,102
                               -3            1,147      1,831
                               -4            0          12
                               -5            0          1
                               -6            1,253      1,335
                               -7            221        550
                               -8            539        434
                               -9            305        704
                               -10           262        121


              21.   As Table 1 reveals, in the 2020 PPP, some 50,000 VBM ballots

       arrived at SOE offices on Election Day itself; another 36,000 arrived just one day

       before the cut-off. In the August 2020 Primary, the numbers of nearly late ballots

       were even higher. Nearly 129,000 VBM ballots arrived at SOE offices on Election

       Day, August 18, 2020, with nearly another 100,000 arriving just one day before

       the state’s Election Day deadline. Just a small delay in the mail delivery of these

       ballots could cost tens of thousands of eligible voters their vote.

              22.   For the 2016 General Election, Dr. Michael C. Herron (Dartmouth

       College) and I calculated that roughly 90,000 voters had their VBM ballots arrive

       at county election offices on Election Day itself, and an additional 80,000 VBM

       ballots arrived just one day earlier. As we have written before, “[t]hese 170,000

       or so mail ballots were on the edge of being late,” as just a two-day delay in mail

       deliveries in the 2016 General Election could have led to 170,000 Florida voters

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         not having a say in the election, though it is a certainty that all of them cast their

         ballots prior to Election Day.13

                23.   There is no reason to expect any decline in nearly late VBM ballots

         in the 2020 General Election.

                24.   Finally, it is my understanding that both Broward and Palm Beach

         county SOEs have arranged with local USPS officials to help better assure the

         timely delivery of VBM ballots. Both counties have allowed for specialized times

         for SOE staff to retrieve VBM ballots in the days leading up to and including

         Election Day.

                25.   Adopting such procedures with local USPS facilities will certainly

         increase the number of mailed VBM ballots that arrive in time to be counted or—

         with respect to ballots that have some defect—in time to be cured by the voter.

                26.   Even minor postal delivery delays, which can be compounded by

         VBM ballots being mailed to voters closer to Election Day, can affect thousands of

         otherwise valid ballots. For example, there is no evidence that voters who have

         requested a VBM ballot in Miami-Dade County are any less enthusiastic about

         returning their VBM ballot than those in neighboring Broward County or in Palm

         Beach County. As of October 14, some 496,000 VBM ballots provided to voters by

         the Miami-Dade SOE have yet to be returned, accounting for 12.9% of all

         statewide VBM ballots the 67 SOEs say they have successfully provided to voters.




    13See Herron and Smith, “Minor postal delays could disenfranchise thousands of
    Florida vote-by-mail voters.”
                                                16
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       In contrast, just slightly more than 128,000 Miami-Dade County voters have

       returned their VBM ballots and have been coded as “valid” by the SOE, accounting

       for just 7.2% of all such cast VBM ballots statewide.

              27.   For comparative purposes, let’s consider neighboring Broward

       County. As of October 14, some 398,000 voters have been provided by the SOE

       with a VBM ballot that they have yet to be returned, which makes up 10.4% of all

       provided VBM ballots statewide. But Broward County voters have returned an

       additional 159,000 “valid” VBM ballots, accounting for over 8.9% of all such cast

       VBM ballots statewide.

              28.   And in Palm Beach County, some 277,000 voters have been provided

       with a VBM ballot that have yet to be returned, which makes up 7.2% of all

       provided VBM ballots statewide. But Palm Beach County voters have returned an

       additional 170,000 “valid” VBM ballots, accounting for roughly 9.6% of all such

       cast VBM ballots statewide. The reason for these discrepancies in returned VBM

       ballots relative to those that have been provided by SOEs to voters but not yet

       returned could have much to do with the fact that Miami-Dade County mailed out

       the bulk of their VBM ballots later than the other two large Southeast Florida

       counties. As a result, voters in Miami-Dade will not receive their VBM ballots in

       as timely a fashion than the other two counties, and they will have less time to

       assure that their VBM ballots will arrive on time via post.




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              29.   In my opinion, it is likely that of tens of thousands of eligible

       registered voters in Florida will not have their VBM ballots counted due to late

       arriving ballots.



    I declare under penalty of perjury that the foregoing is true and correct.



    Executed on October 15, 2020




    ______________________________
    Daniel A. Smith




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                        APPENDIX 1
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    15 October 2020
                                                     DANIEL A. SMITH
                                                      Curriculum Vitae
    Mailing Address                                                           Contact
    Department of Political Science                                           Office: 303 Anderson Hall
    234 Anderson Hall                                                         Phone: 352.273.2346
    PO Box 117325                                                             Fax: 352.392.8127
    University of Florida                                                     Email: electionsmith@gmail.com dasmith@ufl.edu
    Gainesville, FL 32611-7325                                                Homepage: http://people.clas.ufl.edu/dasmith/
                                                                                          www.electionsmith.com
    EDUCATION
    University of Wisconsin-Madison
               Ph.D., Political Science, 1994
               M.A., Political Science, 1989
    The Pennsylvania State University
               B.A., Political Science (Foreign Affairs) & B.A., History (cum laude), 1988
                         University Scholars Program (University Honors)
                         Phi Beta Kappa, Phi Alpha Theta
                         Macro Economics Program, Westminster College, Oxford University, Summer, 1987

    ACADEMIC EMPLOYMENT
    University of Florida, Gainesville
               Professor, Department of Political Science, 2010-
                          Chair, 2017-
                          Graduate Coordinator, 2014-2016
                          Associate Chair, 2013-2014
                          Director, Graduate Program in Political Campaigning, 2007-2011
                          Affiliate Professor, Center for African Studies, 2010-
                          Affiliate Professor, The Bob Graham Center for Public Service, 2013-
                          Internship Coordinator, Department of Political Science, 2005-
               Associate Professor (with tenure), Department of Political Science, 2003-2009
    University of Denver
               Associate Professor (with tenure), Department of Political Science, 2000-2003
               Assistant Professor, Department of Political Science, 1994-2000
               Director, University of Denver/University of Ghana Study Abroad Program, 1995-2002
    University of Ghana
               Senior Fulbright Scholar, Department of Political Science, 2000-01
    West Virginia University
               Visiting Assistant Professor, Department of Political Science, 1993-1994
    Beloit College
               Visiting Lecturer, Warner Mills Teaching Fellow, Department of Government, 1992-1993
    University of Wisconsin-Madison
               Teaching Assistant, Department of Political Science, 1988; 1990-1991
               Research Assistant, Center on Wisconsin Strategy, 1989-1991
               Project Assistant, Department of Political Science, 1989-1990

    RESEARCH FELLOWSHIPS
    University of Florida Term Professor, 2016-2018
    Research Associate, Ghana Center for Democratic Development (CDD-Ghana), Accra, Ghana, Fall 2011
    University of Florida Research Foundation (UFRF) Professor, 2010-2012
    Visiting Scholar, Bill Lane Center for the Study of the North American West, Stanford University, Spring 2007
    Senior Research Scholar, Ballot Initiative Strategy Center, Washington, D.C., Spring 2006
    Senior Fulbright Scholar (Ghana), United States Department of State, 2000-01
    Research Associate, Ghana Center for Democratic Development (CDD-Ghana), Accra, Ghana, 2000-01

    AREAS OF SPECIALIZATION
    American State Politics
              Voting and Elections (Political Campaigns, Campaign Finance, Voting Rights, Redistricting)
              Direct Democracy (Ballot Initiatives and Referendums)
    American Institutions (Political Parties and Interest Groups)
    Politics of Ghana (Voting and Elections)
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                                                                                                                                      2

    COURSES TAUGHT
    Intro to American Politics (Undergrad)                                 State and Local Government (Grad & Undergrad)
    Interest Group Politics (Undergrad)                                    Political Parties (Grad & Undergrad)
    Direct Democracy (Grad & Undergrad)                                    Politics of Campaign Finance (Grad & Undergrad)
    Politics of Reform (Grad)                                              Problems of Markets and Governments (Undergrad)

    SCHOLARLY PUBLICATIONS
    BOOKS
    3) Todd Donovan, Daniel A. Smith, Tracy Osborne, and Christopher Z. Mooney. 2015. State and Local Politics: Institutions
             and Reform. 4th edition. Boston (MA): Cengage Learning Wadsworth.
    2) Daniel A. Smith and Caroline J. Tolbert. 2004. Educated by Initiative: The Effects of Direct Democracy on Citizens and Political
             Organizations in the American States. Ann Arbor: University of Michigan Press.
    1) Daniel A. Smith. 1998. Tax Crusaders and the Politics of Direct Democracy. NY: Routledge.

    JOURNAL ARTICLES (current PhD students bold; former PhD students italics; undergrad students italics)
    65) Anna Baringer, Michael Herron, and Daniel A. Smith. 2020. “Voting by Mail and Ballot Rejection: Lessons from
              Florida for Elections in the Age of the Coronavirus,” Election Law Journal (September)
              https://doi.org/10.1089/elj.2020.0658
    64) Enrijeta Shino and Daniel A. Smith. 2020. “Political Knowledge and Convenience Voting,” Journal of Elections, Public
              Opinion and Parties (August) https://doi.org/10.1080/17457289.2020.1814308.
    63) William D. Hicks, Seth C. McKee, and Daniel A. Smith. 2020. “Contemporary Views of Liberal Democracy and the
              2016 Presidential Election.” PS: Political Science (May). https://doi.org/10.1017/S1049096520000918
    62) Enrijeta Shino, Michael Martinez, Michael P. McDonald, and Daniel A. Smith. 2020. “Verifying Voter Registration
              Records.” Forthcoming. American Politics Review (May) https://doi.org/10.1177/1532673X20920261.
    61) Enrijeta Shino and Daniel A. Smith. 2020. “Mobilizing the Youth Vote? Early Voting on College Campuses.” Election
              Law Journal (June) https://doi.org/10.1089/elj.2019.0596
    60) David Cottrell, Michael C. Herron, and Daniel A. Smith. “Voting Lines, Equal Treatment, and Early Voting Check-
              in Times in Florida,” State Politics and Policy Quarterly (August)
              https://journals.sagepub.com/doi/full/10.1177/1532440020943884
    59) Charles Bullock, William D. Hicks, M.V. Hood, Seth C. McKee, and Daniel A. Smith. 2020. “The Election of African
              American State Legislators in the Modern South.” Legislative Studies Quarterly (April).
              https://onlinelibrary.wiley.com/doi/10.1111/lsq.12280.
    58) Thessalia Merivaki and Daniel A. Smith. 2019. “A Failsafe for Voters? Cast and Rejected Provisional Ballots in North
              Carolina,” Political Research Quarterly 73(1): 65-78.
    57) Seth C. McKee, Daniel A. Smith, and M.V. (Trey) Hood. 2018. “The Comeback Kid: Donald Trump on Election
              Day in 2016.” PS: Political Science 52 (2): 239-242.
    56) Hannah L. Walker, Michael C. Herron, and Daniel A. Smith. 2019. “North Carolina voter turnout and early voting
             hours in the 2016 General Election.” Political Behavior 41: 841-69.
    55) Daniel Biggers and Daniel A. Smith. 2020. “Does Threatening their Franchise Make Registered Voters More Likely
              to Participate? Evidence from an Aborted Voter Purge.” British Journal of Political Science 50(3): 933-954.
    54) Brian Amos, Diana Forster, and Daniel A. Smith. 2018. “Who Signs? Ballot Petition Signatures as Political
              Participation,” American Review of Politics 36(2): 19-37.
    53) David Cottrell, Michael C. Herron, Javier M. Rodriguez, and Daniel A. Smith. 2019. “Mortality, Incarceration, and
              African-American Disenfranchisement in the Contemporary United States,” American Politics Research 47(2) 195–
              237.
    52) Daniel A. Smith, Seth C. McKee, and M.V. (Trey) Hood, III. 2018. “Election Daze: Voting Modes and Voter
              Preferences in the 2016 Presidential Election,” Florida Political Chronicle 25(2): 123-141.
    51) Enrijeta Shino and Daniel A. Smith. 2018. “Timing the Habit: Voter Registration and Turnout in the American
              States.” Electoral Studies 51: 72-82.
    50) William D. Hicks, Carl E. Klarner, Seth C. McKee, and Daniel A. Smith. 2018. “Revisiting Majority-Minority
              Districts and Black Representation,” Political Research Quarterly 71(2): 408-23.
    49) Brian Amos, Daniel A. Smith, and Casey Ste. Claire. 2017. “Reprecincting and Voting Behavior,” Political Behavior
              39(1): 133-156.
    48) William D. Hicks, Seth C. McKee, and Daniel A. Smith. 2016. “A Bipartisan Election Reform? Explaining Support
              for Online Voter Registration in the American States,” American Politics Research 44(6): 1008-1036.
    47) Michael C. Herron and Daniel A. Smith. 2016. “Race, Shelby County, and the Voter Information Verification Act in
              North Carolina,” Florida State University Law Review 43: 465-506.
    46) William D. Hicks, Seth C. McKee, and Daniel A. Smith. 2016. “The Determinants of State Legislator Support for
              Restrictive Voter ID Laws,” State Politics & Policy Quarterly 16(4): 411-431.
    45) Michael C. Herron and Daniel A. Smith. 2016. “Precinct Resources and Voter Wait Times,” Electoral Studies 42: 249–
              63.
    44) Thessalia Merivaki and Daniel A. Smith. 2016. “Casting and Verifying Provisional Ballots in Florida,” Social Science
              Quarterly 97(3): 729–47.
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    43) Michael C. Herron and Daniel A. Smith. 2015. “Precinct Closing Times in Florida during the 2012 General
              Election,” Election Law Journal 14: 220-38.
    42) William D. Hicks, Seth C. McKee, Mitchell Sellers, and Daniel A. Smith. 2015. “A Principle or a Strategy? Voter
              Identification Laws and Partisan Competition in the American States,” Political Research Quarterly 68: 18-33.
    41) Michael C. Herron and Daniel A. Smith. 2014. “Race, Party, and the Consequences of Restricting Early Voting in
              Florida in the 2012 General Election,” Political Research Quarterly 67: 646-65.
    40) Josh Brodbeck, Matthew T. Harrigan, and Daniel A. Smith. 2013. “Citizen and lobbyist access to Members of
              Congress: Who gets and who gives?” Interest Groups and Advocacy 2: 323-42.
    39) Michael C. Herron and Daniel A. Smith. 2013. “House Bill 1355 and Voter Registration in Florida,” State Politics and
              Policy Quarterly, 13: 279-305.
    38) Michael C. Herron and Daniel A. Smith. 2012. “Souls to the Polls: Early Voting in Florida in the Shadow of House
              Bill 1355,” Election Law Journal 11: 331-47.
                          [Winner of the 2013 APSA State Politics and Policy Section’s Best Paper Award]
    37) Janine Parry, Daniel A. Smith, and Shayne Henry. 2011. “The Impact of Petition Signing on Voter Turnout,” Political
              Behavior 34: 117-36.
    36) Stephanie Slade and Daniel A. Smith. 2011. “Obama to Blame? African American Surge Voters and the Ban on
              Same-Sex Marriage in Florida,” The Forum 9(2), Article 6: http://www.bepress.com/forum/vol9/iss2/art6.
    35) Daniel A. Smith. 2011. “Generating Scholarship from Public Service: Media Outreach, Nonprofit Foundation
              Service, and Legal Expert Consulting,” PS: Political Science & Politics 44: 255-9.
    34) Josh Huder, Jordan Ragusa, and Daniel A. Smith. 2011. “The Initiative to Shirk? The Effects of Ballot Measures
              on Congressional Voting Behavior,” American Politics Research 39 (3): 582-610.
    33) Daniel A. Smith, Caroline J. Tolbert, and Amanda Keller. 2010. “Electoral and Structural Losers and Support for a
              National Referendum in the U.S.” Electoral Studies 29: 509-520.
    32) Daniel A. Smith and Caroline J. Tolbert. 2010. “Direct Democracy, Public Opinion, and Candidate Choice,” Public
              Opinion Quarterly 74: 85-108.
    31) Caroline Tolbert, Daniel A. Smith, and John Green. 2009. “Mass Support for Redistricting Reform: District and
              Statewide Representational Winners and Losers.” Political Research Quarterly 62: 92-109.
    30) Todd Donovan, Caroline J. Tolbert, and Daniel A. Smith. 2009. “Political Engagement, Mobilization, and Direct
              Democracy,” Public Opinion Quarterly 73: 98-118.
    29) Daniel A. Smith. 2009. “An Americanist in Africa,” PS: Political Science & Politics 42 (4): 827-33.
    28) Beatrix Allah-Mensa, Kevin S. Fridy, Daniel A. Smith, and Ukoha Ukiwo. “2009 APSA Workshop on African Elections
              and Democracy,” PS: Political Science & Politics. 42 (4): 827-33. [Editors of a Special Symposium on the 2009 APSA
              Workshop in Ghana].
    27) Todd Donovan, Caroline Tolbert, and Daniel A. Smith. 2008. “Priming Presidential Votes by Direct Democracy,” Journal
              of Politics 70: 1217-31.
    26) Daniel A. Smith and Dustin Fridkin. 2008. “Delegating Direct Democracy: Interparty Legislative Competition and
              the Adoption of the Initiative in the American States,” American Political Science Review 102: 333-50.
    25) Eric Heberlig, Bruce Larson, Daniel A. Smith, and Kristen Soltis. 2008. “Look Who’s Coming to Dinner: Direct
              versus Brokered Member Campaign Contributions to the NRCC.” American Politics Research 36 433-450.
    24) Daniel A. Smith and Caroline J. Tolbert. 2007. “The Instrumental and Educative Effects of Ballot Measures:
              Research on Direct Democracy in the American States.” State Politics and Policy Quarterly 4: 417-446.
    23) Daniel A. Smith. 2007. “Representation and the Spatial Bias of Direct Democracy,” University of Colorado Law Review
              78 (4): 1395-1434.
    22) Daniel A. Smith and Caroline J. Tolbert, and Daniel Bowen. 2007. “The Educative Effects of Direct Democracy: A
              Research Primer for Legal Scholars,” University of Colorado Law Review 78 (4): 1371-94.
    21) Daniel A. Smith, Matthew DeSantis, and Jason Kassel. 2006. “Same-Sex Marriage Ballot Measures and the 2004
              Presidential Election,” State and Local Government Review 38 (2): 78-91.
    20) Caroline J. Tolbert and Daniel A. Smith. 2006. “Representation and Direct Democracy in the United States.”
              Representation: The Journal of Representative Democracy 42 (1): 25-44.
    19) Elizabeth Garrett and Daniel A. Smith. 2005. “Veiled Political Actors and Campaign Disclosure Laws in Direct
              Democracy.” Election Law Journal 4 (4) 295-328.
    18) Caroline J. Tolbert and Daniel A. Smith. 2005. “The Educative Effects of Ballot Initiatives on Voter Turnout.”
              American Politics Research 33 (2): 283-309.
    17) Daniel A. Smith. 2004. “Peeling Away the Populist Rhetoric: Toward a Taxonomy of Anti-Tax Ballot Initiatives.”
              Journal of Public Budgeting and Finance 24 (4): 88-110.
    16) Daniel A. Smith. 2003. “Overturning Term Limits: The Legislature’s Own Private Idaho?” PS: Political Science &
              Politics 36 (2): 215-220.
    15) Caroline J. Tolbert, Ramona McNeal, and Daniel A. Smith. 2003. “Enhancing Civic Engagement: The Effect of
              Direct Democracy on Political Participation and Knowledge.” State Politics and Policy Quarterly 3 (1): 23-41.
    14) Daniel A. Smith. 2003. “Distorted by Outside Money: National Parties and the Race for Colorado’s Seventh
              Congressional District,” PS: Political Science & Politics 36 (3) PSOnline E-Symposium
              <http://journals.cambridge.org/action/displayAbstract?aid=164256>.
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    13) Daniel A. Smith and Joseph Lubinski. 2002. “Direct Democracy during the Progressive Era: A Crack in the
              Populist Veneer?” Journal of Policy History 14 (4): 349-83.
    12) Jonathan Temin and Daniel A. Smith. 2002. “Media Matters: Evaluating the Role of the Media in Ghana’s 2000
              Elections.” African Affairs 101: 585-605.
    11) Daniel A. Smith. 2002. “Consolidating Democracy? The Structural Underpinnings of Ghana’s 2000 Elections.”
              Journal of Modern African Studies 40 (4): 1-30.
    10) Daniel A. Smith. 2002. “Ghana’s 2000 Elections: Consolidating Multi-Party Democracy.” Electoral Studies 21 (3): 519-
              26.
    9) Daniel A. Smith and Caroline Tolbert. 2001. “The Initiative to Party: Partisanship and Ballot Initiatives in California.”
              Party Politics 7 (6): 781-99.
    8) Caroline Tolbert, John Grummel, and Daniel A. Smith. 2001. “The Effect of Ballot Initiatives on Voter Turnout in
              the American States.” American Politics Research 29 (6): 625-48.
    7) Daniel A. Smith. 2001. “Homeward Bound? Micro-Level Legislative Responsiveness to Ballot Initiatives.” State Politics
              and Policy Quarterly 1 (1): 50-61.
    6) Daniel A. Smith and Robert J. Herrington. 2000. “The Process of Direct Democracy: Colorado’s 1996 Parental
              Rights Amendment.” Social Science Journal 37 (2): 179-94.
    5) Daniel A. Smith. 1999. “Reevaluating the Causes of Proposition 13.” Social Science History 23 (2): 173-210.
    4) Daniel A. Smith and Nathaniel Golich. 1998. “Some Unintended Consequences of TABOR.” Comparative State
              Politics 19 (6): 33-40.
    3) Daniel A. Smith, Kevin M. Leyden, and Stephen A. Borrelli. 1998. “Predicting the Outcomes of Presidential
              Commissions: Evidence from the Johnson and Nixon Years,” Presidential Studies Quarterly 28 (2): 269-85.
    2) Daniel A. Smith. 1996. “Populist Entrepreneur: Douglas Bruce and the Tax and Government Limitation Moment in
              Colorado, 1986-1992,” Great Plains Research 6 (2): 269-94.
    1) Daniel A. Smith. 1993: “Removing the Pluralist Blinders: Labor-Management Councils and Industrial Policy in the
              American States,” Economic Development Quarterly 7 (4): 373-89.

    UNDER REVIEW (current PhD students bold; former PhD students italics; current undergrad students italics)
    1)   Enrijeta Shino, Mara Suttmann-Lea, and Daniel A. Smith, “Voting by Mail in a VENMO World: Assessing Rejected
         Absentee Ballots in Georgia.” Revise and Resubmit.
    2)   “Election Administration and Public Records Responsiveness,” (with Enrijeta Shino, Anna Baringer, Justin
         Eichermuller, and William Zelin).

    BOOK CHAPTERS (current PhD students bold; former PhD students italics; current undergrad students italics)
    28) Thessalia Merivaki and Daniel A. Smith. 2019. “Challenges in Voter Registration,” in The Future of Election
             Administration, Mitchell Brown, Kathleen Hale, and Bridgett A. King, eds. New York: Palgrave/Macmillan.
    27) Seth C. McKee and Daniel A. Smith. 2019. “Trump Territory,” in Florida and the 2016 Election of Donald J. Trump,
             Matthew Corrigan and Michael Binder, eds. Gainesville: University of Florida Press (49-75).
    26) Daniel A. Smith, Brian Amos, Daniel Maxwell, and Tyler Richards. 2019. “Rigged? Assessing Election
             Administration in Florida's 2016 General Election,” in Florida and the 2016 Election of Donald J. Trump, Matthew
             Corrigan and Michael Binder, eds. Gainesville: University of Florida Press (pp. 154-74).
    25) Daniel A. Smith, Dillon Boatner, Caitlin Ostroff, Pedro Otálora, and Laura Uribe, “Early Bird Special:
             Convenience Voting in Florida’s 2016 General Election,” in Florida and the 2016 Election of Donald J. Trump,
             Matthew Corrigan and Michael Binder, eds. Gainesville: University of Florida Press (pp.134-53).
    24) Michael C. Herron, Daniel A. Smith, Wendy Serra, and Joseph Bafumi. 2017. “Wait Times and Voter Confidence:
             A Study of the 2014 General Election in Miami-Dade County,” in The American Election 2014: Contexts and
             Consequences, Tauna Sisco, Christopher Galdieri, and Jennifer Lucas, eds. Akron, OH: University of Akron Press
             (pp. 107-122).
    23) Joseph T. Eagleton and Daniel A. Smith. 2015. “Drawing the Line: Public Support for Amendments 5 and 6,” in
             Jigsaw Puzzle Politics in the Sunshine State, Seth C. McKee, ed. Gainesville, FL: University Press of Florida (pp. 109-
             25).
    22) Diana Forster and Daniel A. Smith. 2014. “A Climate for Change? Environmental Ballot Measures,” in U.S. Climate
             Change Policy and Civic Society, Yael Wolinsky-Nahmias, ed. Washington, DC: C.Q. Press.
    21) Daniel A. Smith. 2014. “Direct Democracy,” in The Encyclopedia of Political Thought, Michael T. Gibbons, ed. Oxford:
             Wiley-Blackwell.
    20) William Hicks and Daniel A. Smith. 2013. “State Campaigns and Elections,” in The Oxford Handbook of State and
             Local Government, Donald Haider-Markel, ed. New York: Oxford University Press.
    19) Daniel A. Smith. 2012. “Direct Democracy: Regulating the ‘Will of the People,’” in Matthew J. Streb, ed., Law and
             Election Politics: The Rules of the Game, 2nd ed. New York: Routledge.
    18) Daniel A. Smith. 2011. “Direct Democracy in Colorado: A Historical Perspective,” in Courtenay Daum, Robert
             Duffy, and John Straayer, eds., State of Change: Colorado Politics in the Twenty-first Century. Boulder: University of
             Colorado Press.
    17) Daniel A. Smith. 2010. “Direct Democracy and Candidate Elections,” in Stephen C. Craig and David Hill, The
              Electoral Challenge: Theory Meets Practice, 2nd edition. Washington, DC: CQ Press.
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    16) Daniel A. Smith. 2010. “Financing Ballot Measures in the U.S.,” in Karin Gilland-Lutz and Simon Hug, eds.,
             Financing Referendum Campaigns. New York: Palgrave.
    15) Daniel A. Smith. 2008. “Direct Democracy and Campaigns,” in Shaun Bowler and Amihai Glazer, eds., Direct
             Democracy’s Impact on American Political Institutions. New York: Palgrave.
    14) Todd Donovan and Daniel A. Smith. 2008. “Identifying and Preventing Signature Fraud on Ballot Measure
             Petitions,” in Michael Alvarez, Thad E. Hall, and Susan D. Hyde, eds., Election Fraud: Detecting and Deterring
             Electoral Manipulation. Washington, DC: Brookings.
    13) Daniel A. Smith. 2008. “Direct Democracy and Election and Ethics Laws,” in Bruce Cain, Todd Donovan, and Caroline
             Tolbert, eds, Democracy in the States: Experiments in Elections Reform. Washington, DC: Brookings.
    12) Daniel A. Smith. 2007. “Ballot Initiatives,” in Gary Anderson and Kathryn Herr, eds., Encyclopedia of Activism and
             Social Justice. Thousand Oaks, CA: Sage Publications, Inc.
    11) Raymond J. La Raja, Susan E. Orr, and Daniel A. Smith. 2006. “Surviving BCRA: State Party Finance in 2004,” in
             John Green and Daniel Coffey, eds., The State of the Parties (5th edition). Lanham, MD: Rowman and Littlefield.
    10) Daniel A. Smith. 2006. “Initiatives and Referendums: The Effects of Direct Democracy on Candidate Elections,” in
             Steven Craig, ed., The Electoral Challenge: Theory Meets Practice. Washington, D.C.: CQ Press.
    9) Daniel A. Smith (with Sure Log). 2005. “Orange Crush: Mobilization of Bias, Ballot Initiatives, and the Politics of
             Professional Sports Stadia,” in David McCuan and Stephen Stambough, eds., Initiative-Centered Politics. Durham,
             NC: Carolina Academic Press.
    8) Daniel A. Smith. 2005. “The Initiative to Party: The Role of Parties in State Ballot Initiatives,” in David McCuan and
             Stephen Stambough, eds., Initiative-Centered Politics. Durham, NC: Carolina Academic Press.
    7) Daniel A. Smith. 2004. “Strings Attached: Outside Money in Colorado’s Seventh Congressional District,” in David
             Magleby and Quin Monson, eds., The Last Hurrah? Washington, D.C.: Brookings.
    6) Daniel A. Smith. 2002. “Direct Democracy and Its Critics,” in Peter Woolley and Albert Papa, eds., American Politics:
             Core Argument/Current Controversy. 2nd ed. Englewood Cliffs, NJ: Prentice Hall.
    5) Daniel A. Smith. 2001. “Campaign Financing of Ballot Initiatives in the American States,” in Larry Sabato, Bruce
             Larson, and Howard Ernst, eds., Dangerous Democracy? The Battle Over Ballot Initiatives in America. Lanham, MD:
             Rowman and Littlefield.
    4) Daniel A. Smith. 2001. “Special Interests and Direct Democracy: An Historical Glance,” in M. Dane Waters, ed., The
             Battle Over Citizen Lawmaking. Durham, NC: Carolina Academic Press.
    3) Daniel A. Smith and Jonathan Temin. 2001. “The Media and Ghana’s 2000 Elections,” in Joseph Ayee, ed., Deepening
             Democracy in Ghana: Politics of the 2000 Elections, Volume 1 (Thematic Studies). Accra: Freedom Publications.
    2) Daniel A. Smith. 2001. “The Politics of Upper East and the 2000 Ghanaian Elections,” in Joseph Ayee, ed., Deepening
             Democracy in Ghana: Politics of the 2000 Elections, Volume 2 (Constituency Studies). Accra: Freedom Publications.
    1) Daniel A. Smith. 1998. “Unmasking the Tax Crusaders,” in Bruce Stinebrickner, ed., Annual Editions: State & Local
             Government. 9th ed. Guilford, CT: Dushkin/McGraw-Hill, 83-85 [Reprinted].

    RESEARCH GRANTS, CONTRACTS, HONORS, AND AWARDS
    38) University Scholars Program Grant (advising Emily Boykin and Jenna Tingum), University of Florida, “Spanish
              Language Materials, Administrative Compliance, and Hispanic Voting in Florida.” Fall 2019/Spring 2020.
    37) CLAS Scholars Program Grant (advising William Zelin), University of Florida, “The Effect of Natural Disasters on
              Voter Turnout.” Fall 2019/Spring 2020.
    36) Gill Foundation Grant, “LGBT Issues in Florida,” Spring 2018 (Co-PI, Michael Martinez).
    35) University of Florida Term Professorship, 2017-2019.
    34) University Scholars Program Grant (advising Pedro Otálora), University of Florida, “Political Participation of
              Native-Born and Naturalized Citizens in Miami-Dade.” Summer/Fall 2017.
    33) Ruben Askew Scholar Award (advising Wendy Serra), Bob Graham Center, University of Florida, Summer 2016.
    32) Emerging Scholars Program (advising Anthony Rychkov), University of Florida, “The Timing of Voter Registration
              and Turnout,” Spring/Summer 2016.
    31) University Scholars Program Grant (advising Casey Ste. Claire), University of Florida, College of Liberal Arts &
              Sciences, “Reprecincting and Voter Turnout,” Fall 2015/Spring 2016.
    30) University Scholars Program Grant (with Frances Chapman), University of Florida, College of Liberal Arts &
              Sciences, “Truing or Suppressing the Vote? Private Voter Challenges in Florida,” Fall 2013/Spring 2014.
    29) Best Paper Award presented in 2012 by the APSA Organized Section on State Politics and Policy: “Souls to the
              Polls: Early Voting in Florida in the Shadow of House Bill 1355,” 2013 (with Michael Herron).
    28) University Scholars Program Grant (with Bryce Freeman), University of Florida, College of Liberal Arts & Sciences,
              “Impact of Voter Suppression on Political Participation,” Spring 2013.
    27) The William and Flora Hewlett Foundation, “Popular Support and Conditions for the Passage of Ballot Measures,”
              June 2013.
    26) Advancement Project, “Congestion at the Polls: A Study of Florida Precincts in the 2012 General Election,” June
              2013 (with Michael Herron).
    25) Co-Principal Investigator, “Trans-Saharan Professionals Program,” United States Department of State, Bureau of
              Educational and Cultural Affairs, S-ECAPPE-10-GR-231 (DT), September 2010-August 2012.
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    24) University of Florida Research Foundation (UFRF) Professor, 2010-2012 (annual salary supplement and research
             funding).
    23) Co-Principal Investigator, American Political Science Association Workshop on Elections and Democracy, University of
             Ghana at Legon, Ghana, Summer 2009, funded by Mellon Foundation.
    22) Best Paper Award presented in 2006 by the APSA Organized Section on State Politics and Policy: “Do State-Level
             Ballot Measures Affect Presidential Elections?” (with Caroline Tolbert and Todd Donovan).
    21) Research Grant, “Did Gay Marriage Re-Elect George W. Bush?” University of Florida, College of Liberal Arts &
             Sciences, Summer 2005.
    20) University Scholars Program Grant (with Kirsten Soltis), University of Florida, College of Liberal Arts & Sciences,
             “Money and the Member: An Analysis of Fundraising in Congressional Politics in the Post-Campaign Finance
             Reform Era,” Fall 2005.
    19) Research Grant, “Mobilization Effects of Ballot Measures in Colorado, Florida, Ohio, and Nevada,” Ballot Initiative
             Strategy Center, Fall 2004.
    18) Research Grant, “Mobilization Effects of Gay Marriage Ban in Ohio,” Ballot Initiative Strategy Center, Fall 2004.
    17) Research and Travel Grant, Pew Charitable Trusts, “Veiled Political Actors,” Daniel Lowenstein, Kim Alexander,
             Robert Stern, Tracy Western, and Joseph Doherty, Principle Investigators, Fall 2003.
    16) Travel Grant, College of Liberal Arts and Sciences, University of Florida, “Initiative and Referendum Campaigns,” Fall
             2003.
    15) Research Grant, Pew Charitable Trusts, “Outside Money: Colorado’s 7th Congressional District,” David Magleby,
             Principal Investigator, Fall 2002.
    14) Faculty Research Fund, “Ballot Initiatives during the Progressive Era,” University of Denver, Fall 2002.
    13) Research Grant, American Political Science Association, “Ballot Initiatives during the Progressive Era: Evidence from
             California, 1912-1920,” Summer 2002.
    12) Research Grant, Colorado Endowment for the Humanities, “The ‘Golden Era’ of Direct Democracy? Colorado’s Election
             of 1912,” (R017-0300-010) (with Joseph Lubinski), Spring 2000.
    11) Partners in Scholarship: 2000 Winter Quarter Project Proposal, “The ‘Golden Era’ of Direct Democracy? Evidence
             from the Colorado Election of 1912,” University of Denver, with Joseph Lubinski).
    10) Rosenberry Fund, “Direct Democracy in Colorado,” University of Denver, Spring 1999.
    9) Best Paper, Charles Redd Politics of the American West, “Howard Jarvis, Populist Entrepreneur: Reevaluating Causes
             of Proposition 13,” Western Political Science Association, Los Angeles, March 20, 1998.
    8) Faculty Research Fund, “Ballot Warriors: Citizen Initiatives in the 1990s,” University of Denver, Fall 1997.
    7) Partners in Scholarship: 1997 Winter Quarter Project Proposal, “The Process of Direct Democracy: Parental Rights
             Amendment,” University of Denver, with Robert Herrington, Winter 1997.
    6) Faculty Research Fund, “Faux Populism: Populist Entrepreneurs and Populist Moments,” University of Denver, Fall
             1996.
    5) International Small Grants, “Election Monitor: Ghana Presidential and Parliamentary 1996 Elections,” Office of
             Internationalization, University of Denver, Fall 1996.
    4) Faculty Research Fund, “Populist Prophets and the Mass Appeal of Direct Democracy,” Program Support Services,
             University of Denver, Spring 1995.
    3) Research Grant, Institute for Public Affairs, West Virginia University, Summer 1994.
    2) Senate Research Travel Grant, Faculty Development Fund, West Virginia University, Fall 1994.
    1) Research Travel Grant, Robert LaFollette Institute of Public Affairs, University of Wisconsin-Madison, Fall 1992.

    TECHNICAL REPORTS & OTHER SCHOLARLY PUBLICATIONS
    27) Daniel A. Smith, “Audit of Assignment of Registered Voters to New, Court-Ordered House of Delegates Districts,”
                Virginia Secretary of State (with Michael P. McDonald), Spring 2019.
    26) Daniel A. Smith, “Vote-by-Mail Ballots Cast in Florida,” A Report Commissioned by ACLU Florida, August 2018.
    25) Michael C. Herron and Daniel A. Smith, “Congestion at the Polls: A Study of Florida Precincts in the 2012 General
                Election,” A Report Commissioned by Advancement Project, Washington, DC, June 24, 2013. Available:
                http://www.advancementproject.org/news/entry/voters-of-color-faced-longest-wait-times-in-florida.
    24) Michael C. Herron and Daniel A. Smith, “Florida’s 2012 General Election under HB 1355: Early Voting,
                Provisional Ballots, and Absentee Ballots,” League of Women Voters Florida, January 2013.
    23) Daniel A. Smith, “The Re-demarcation and Reapportionment of Parliamentary Constituencies in Ghana,” Ghana
                Center for Democratic Development (CDD-GHANA), Vol. 10 (2): October, 2011. Available:
                http://www.cddghana.org/documents/Vol.%2010,%20No.%202.pdf
    22) Daniel A. Smith. 2010. “Educative Effects of Direct Democracy: Evidence from the US States,” Memorandum
             requested by the British House of Lords, Constitution Committee, January 4. Available:
             http://www.publications.parliament.uk/pa/ld200910/ldselect/ldconst/99/99we14.htm.
    21) Daniel A. Smith. 2006. “Money Talks: Ballot Initiative Spending in 2004.” Ballot Initiative Strategy Center, June.
             Available: http://ballot.org.
    20) Daniel A. Smith. 2006. “Ballot Initiatives, Tax Issues,” in Larry Sabato and Howard Ernst, eds., Encyclopedia of
             American Political Parties and Elections. New York: Facts on File.
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    19) Daniel A. Smith. 2004. “Direct Democracy,” in David Wishart, ed., Encyclopedia of the Great Plains. Lincoln: University
             of Nebraska Press.
    18) Daniel A. Smith and Caroline J. Tolbert. 2003 “Educated by Initiative,” Campaigns and Elections, August, p. 31.
    17) Elizabeth Garrett, and Daniel A. Smith. 2003. “Veiled Political Actors: The Real Threat to Campaign Disclosure
             Statutes” (July 22). USC Law and Public Policy Research Paper No. 03-13 http://ssrn.com/abstract=424603.
    16) Daniel A. Smith. 2003. “Ballot Initiatives and the (Sub)Urban/Rural Divide in Colorado,” in Daphne T. Greenwood,
             ed., Colorado’s Future: Meeting the Needs of a Changing State. Colorado Springs: Center for Colorado Policy Studies.
    15) Daniel A. Smith. 2003. “The Colorado 7th Congressional District,” in David B. Magleby and Quin Monson, eds., The
             Last Hurrah? Provo, UT: Center for the Study of Elections and Democracy.
    14) Stan Elofson, Daniel A. Smith, Jennifer Berg, and Joseph Lubinski. 2002. “A Listing of Statewide Initiated and
             Referred Ballot Proposals in Colorado, 1912-2001.” Issue Brief No. 02-02. (March 5) Colorado Legislative Council,
             Colorado General Assembly, Denver. [Revised Edition].
    13) Daniel A. Smith. 2001. “Howard Jarvis’ Legacy? An Assessment of Antitax Initiatives in the American States.” State
             Tax Notes 22: 10 (December): 753-764.
    12) Daniel A. Smith. 2001. “The Structural Underpinnings of Ghana’s December 2000 Elections.” Critical Perspectives,
             No. 6. Ghana Center for Democratic Development (CDD-Ghana), Accra, Ghana.
    11) Daniel A. Smith, Jonathan Temin, and Kwaku Nuamah. 2001. “Media Coverage of the 2000 Election: A Report on
             the Media Coverage of Election 2000 (May 2000-Janurary 2001).” Research Paper, No. 8. Ghana Center for
             Democratic Development (CDD-Ghana), Accra, Ghana.
    10) Daniel A. Smith. 2000. “Election 2000: Debating the Issues?” Briefing Paper, Volume 2, Number 4, Ghana Center for
             Democratic Development (CDD-Ghana), Accra, Ghana.
    9) Daniel A. Smith. 2000. “Growth and Transportation Ballot Measures in Colorado,” in Floyd Ciruli, ed., Moving Visions:
             Next Steps Toward Growing Smart. Denver: Gates Family Foundation.
    8) Stan Elofson, Daniel A. Smith, Jennifer Berg, and Joseph Lubinski. 2000. “A Listing of Statewide Initiated and
             Referred Ballot Proposals in Colorado, 1912-2000.” Issue Brief No. 8. (December) Colorado Legislative Council,
             Colorado General Assembly, Denver. [updated 2002, 2004, 2006, 2008]
    7) Daniel A. Smith. 2000. “Progressives and the Initiative Process: A Call to Arms.” Ballot Initiative Strategy Center (BISC).
    6) Daniel A. Smith and Joseph Lubinski. 2000. “Sponsoring ‘Counter-Majoritarian’ Bills in Colorado.” Ag Journal.
             (September): 12-13.
    5) Daniel A. Smith. 1998. “Unmasking the Tax Crusaders.” State Government News. 41:2 (March): 18-21.
    4) Daniel A. Smith. 1997. “Howard Jarvis, Populist Entrepreneur,” Working Paper, 97-8, Institute of Governmental
             Studies, University of California - Berkeley.
    3) Daniel A. Smith. 1995. “The West Virginia Labor-Management Advisory Council,” The West Virginia Public Affairs
             Reporter. 12:4 (Winter): 1-11.
    2) Daniel A. Smith. 1992. “A Tale of Five Cities,” The La Follette Policy Report. 5 (Fall): 18-21.
    1) Daniel A. Smith. 1991. “Emerging Skill Needs in the Wisconsin Non-Automotive Engines Industry,” Commissioned
             by the Wisconsin Board of Vocational, Technical, and Adult Education, Working Paper, Center on Wisconsin
             Strategy, University of Wisconsin-Madison.

    OUTSIDE ACTIVITIES: BOARDS/EXPERT WITNESS/POLITIAL CONSULTANT/INVITED
          TESTIMONY/MISCELANEOUS
    President, ElectionSmith www.electionsmith.com (S-Corp) 2006-
    Board Member, Ballot Initiative Strategy Center (BISC) www.ballot.org 1999-2019.
    Board Member, Common Cause Florida https://www.commoncause.org/florida/ 2014-
    Board President, 300 Club https://300clubswimandtennis.com/ 2018-

    Domestic Consulting
    Expert (written declaration), Texas League of United Latin American Citizens, et al. v. Abbott, et al. Case 1:20-cv-1006 (US
             District Court for the Western Division of Texas). [Provided written report for plaintiffs analyzing absentee
             ballot drop-off locations in Texas], 2020.
    Expert (written declaration), Dream Defenders, et al. v. DeSantis, et al. Case 4:20-cv-00067-RH-GRJ (US District Court for
             the Northern District of Florida). [Provided written report for plaintiffs analyzing vote by mail records in
             Florida], 2020.
    Expert (written declaration), Lewis, et al. v. Hughs. Case 5:20-cv-00577 (US District Court for the Western District of
             Texas). [Provided written report for plaintiffs analyzing vote by mail records in Texas], 2020.
    Consulting Expert, Nielsen, et al. v. DeSantis, et al. Case 4:20-cv-00236-MW-MJF (US District Court for the Northern
             District of Florida). [Provided confidential work product for plaintiffs analyzing vote by mail records in
             Florida], 2020.
    Expert (written declarations), Gruver, et al. v. Barton, et al. Case 1:19-cv-00121-MW-GRJ (US District Court for the
             Northern District of Florida). [Provided written reports and deposed for plaintiffs analyzing records on the
             impact of SB7066 on Florida residents with felony convictions and outstanding LFOs], 2019-20.
    Consultant, Andrew Goodman Foundation [Analysis of on-campus early voting in Florida], 2019.
    Consultant, ACLU-Florida [Data analysis of Ex-Felons in Florida], 2019-.
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    Expert (written declaration), DNC Services Corporation et al. v. Lee et al. Case 4:18-cv-00524-MW-CAS (US District Court
             for the Northern District of Florida) [Provided written report for plaintiffs on Vote by Mail ballots in Florida],
             2019-.
    Expert (written declaration), MOVE Texas Civic Fund, et. al. v. Whitley, et. al. Case 3:19-cv-00041 (US District Court for
             the Southern District of Texas) [Provided written reports for plaintiffs on number of naturalized citizens in
             Texas], 2019.
    Expert (written declarations), Fair Fight Action v. Crittenden, Case No. 1:18-cv-05391 (US District Court for the Northern
             District of Georgia) [Retained by plaintiffs to analyze data related to Georgia’s election laws], 2018-.
    Expert, The Democratic Party of Georgia v. Crittenden, Case No. 1:18-cv-05443 (US District Court for the Northern District
             of Georgia) [Retained by plaintiffs to analyze data related to the 2018 gubernatorial election], 2018.
    Consultant, ACLU-Florida [Provided analysis of Vote by Mail ballots in Florida], 2018.
    Expert, Judicial Watch, Inc., Election Integrity Project California, Inc., et al. v. Dean C. Logan, et al. Case No. 2:17-cv-08948-R-SK
             (US District Court for the Central District of California, Western Division). [Retained by defendants (California
             Department of Justice) to analyze data concerning inactive voters], 2018.
    Expert (written declaration), Rivera v. Detzner, Case 1:18-cv-61474 (US District Court for the Norther District of Florida)
             [Provided written report for plaintiffs on Puerto Rican population and registered voters in Florida], 2018.
    Expert, Thompson et al. v. Merrill, Case No. 2: 16-cv-783 (US District Court for the Middle District of Alabama) [Retained
             by plaintiffs to analyze data related to the discriminatory impact of Alabama’s felony disenfranchisement
             scheme over time], 2018-.
    Expert (written affidavit), League of Women Voters of Florida, Inc., et al. v. Detzner, Case No. 4:18-cv-00251-MW-CAS (US
             District Court for the Northern District of Florida) [Provided written report for plaintiffs (LWV) to extend
             early voting in Florida], 2018.
    Expert (written affidavit), Ohio A. Philip Randolph Institute, et al. v. Secretary of State, Jon Husted, Case 2:16-cv-00303 (US
             District Court for the Southern District of Ohio, Eastern Division) [Provided written report and deposed for
             plaintiffs (APRI, ACLU OH, Demos) to reinstate registered voters removed by Ohio’s “Supplemental
             Process”], 2017. [Decision, Husted v. APRI, by SCOTUS, July 11, 2018].
    Expert (written affidavits), Bellito & ACRU v. Snipes, Case 4:16-cv-61474 (US District Court for the Southern District of
             Florida, Ft. Lauderdale Division) [Provided written expert reports and deposed for intervenors (SEIU, Project
             Vote, Demos) to defend NVRA compliance by Broward Supervisor of Elections, 2017; testified at trial].
    Consultant, ACLU, Georgia [Provided analysis of CVAP, VAP, and registered voters in Irwin County, Georgia], 2017.
    Consultant, ACLU, Georgia [Provided analysis of proposed redistricting changes to the Georgia House of
             Representatives by the Georgia state legislature], 2017.
    Expert (written affidavit), Florida Democratic Party v. Scott, Case 4:16-cv-00626 (US District Court for the Northern District
             of Florida) [Provided written expert report for plaintiff-intervenors (Mi Familia Vota Education Fund) to
             extend voter registration deadline in Florida due to Hurricane Matthew], 2016.
    Consultant, ACLU, Georgia [Provided analysis of registration deadline in Georgia due to Hurricane Matthew], 2016.
    Expert (written affidavit), Florida Democratic Party v. Detzner, Case 4:16-cv-00607 (US District Court for the Northern
             District of Florida) [Provided written empirical analysis for plaintiff on vote-by-mail ballots cast in Florida],
             2016.
    Advisor, “Mad As Hell: Howard Jarvis and the Birth of the Tax Revolt,” Documentary Film by Jason Cohn, Bread and
             Butter Films [Academic Advisor on Jarvis and antecedents of Prop. 13], 2011-16.
    Advisor, “Rigged,” Documentary Film by Natasha del Torro, Fusion TV (Naked Truth), 2016. [Winner of the Robert F.
             Kennedy Journalism Award for Best Documentary]. Available: http://tv.fusion.net/story/352548/naked-
             truth-rigged-elections-documentary/.
    Advisor, “Voting: Last Week Tonight with John Oliver,” HBO, February 14, 2016. Available:
             https://www.youtube.com/watch?v=rHFOwlMCdto.
    Expert (written affidavit), Frank v. Walker, Case 16-3003, 16-3052 (US Court of Appeals for the Seventh Circuit)
             [Provided written empirical analysis for plaintiffs (ACLU) on voter ID and turnout], 2015.
    Expert (consultant), Greater Birmingham Ministries v. Alabama, Case 2:15-cv-02193-LSC (US District Court for the
             Northern District of Alabama, Southern Division) [Provided oral empirical analysis for plaintiffs (NAACP
             LDEF) on use of absentee ballots], 2015.
    Consultant, America Votes [Provided demographic shift of registered voters analysis for state of Florida], 2015.
    Expert (written affidavits), NAACP, et al. v. Husted, et al., 2:14 cv-00404 (US District Court for the Southern District of
             Ohio) [Provided written empirical analysis and deposed for plaintiffs (ACLU) on early in-person absentee
             voting in Ohio], 2014.
    Expert (written affidavit), John Sullivan, et al. v. Marni Lin Sawiki, et al., 2013-CA-003122 (20th Judicial Circuit (Lee County,
             FL) [Provided written empirical analysis and deposed on early, absentee, and Election Day vote totals in the
             November 5, 2013 Cape Coral mayoral election], 2014.
    Expert (written affidavit), Gateway Retail Center, LLC v. City of Jacksonville, Florida, 3:13-cv1040-J-TJC-JRK (US District
             Court for the Middle District of Florida) [Provided empirical analysis for Gateway Retail Center’s attorneys of
             African American voting during early voting in Duval County in the 2012 General Election], 2013.
    Expert (written affidavits), Arcia, et al. v. Detzner, 1:12-cv-22282-WJZ (US District Court for the Southern District of
             Florida) [Provided empirical analysis for Arcia’s attorneys of the Florida Department of State’s various lists of
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               “potential non-citizens”], 2012. [Arcia, et al. v. Florida Secretary of State (Defendant-Appellee) and Garcia, et al.
               (Intervenor Defendants), 12-15738 (Appealed in 11th Circuit, from the United States District Court for the
               Southern District of Florida), 2014.
    Elections Analyst, WUFT (TV and Radio), Election Night Coverage, November 6, 2012.
    Advisor, “Voters in America: Who Counts?” CNN Documentary Investigation, October 14, 2012.
               http://cnnpressroom.blogs.cnn.com/2012/10/19/voters-in-america-who-counts-joejohnscnn-investigates-
               voter-suppression-voter-fraud/
    Expert (written affidavit), Brown v. Detzner 3:12-cv-00852 (US District Court for the Middle District of Florida)
               [Provided empirical analysis for Brown’s attorneys of minority early voting in Duval County during the 2008
               and 2010 general elections and the 2011 Jacksonville mayoral race], 2012.
    Expert (written affidavits), Romo v. Scott, No. 2012-CA-000412 (Fla. Cir. Ct., Leon County). [Provided empirical analyses
               and deposed for Coalition’s attorneys of new Congressional redistricting maps submitted and adopted by the
               Florida legislature as well as alternative maps submitted by the The League of Women Voters of Florida, the
               National Council of La Raza, and Common Cause Florida], 2012-14.
    Pro Bono Consultant (written work product), League of Women Voters of FL v. Browning, N.D. Fla. (4:11-cv-00628).
               [Provided empirical analysis for LWV’s attorneys (Brennan Center, New York University), assessing the impact
               of Florida’s “third party organization” voter registration requirements], 2012.
    Pro Bono Consultant (written work product), Hillsborough Hispanic Coalition, Tampa, Florida, 2012. [Provided empirical
               analysis of the likely racial/ethnic impact of the redistricting maps adopted by the Hillsborough County
               Commission, and provided alternative maps to be submitted by the Hillsborough Hispanic Coalition, in
               anticipation of federal litigation], 2012.
    Invited Testimony, U.S. Senate, Judiciary Committee, Subcommittee on the Constitution, Civil Rights and Human Rights,
               “New State Voting Laws II: Protecting the Right to Vote in the Sunshine State,” January 2012.
    Expert (written affidavit), Worley v. Detzner, U.S. District Court, N.D. Fla (4:10-cv-00423-RH-WCS). [Provided expert
               opinion to Florida Secretary of State to help defend Election code provisions concerning the reporting,
               registration, and disclosure requirements applicable to political committees (ballot issues)], 2010.
    Expert (written affidavit), Citizens Against Slots v. PPE Casino, 999 A.2nd 181 (2010) 415 Md. 117. [Provided empirical
               analysis of the validity rates of the signatures submitted by Citizens Against Slots for a county popular
               referendum], 2010.
    Expert (written affidavit), The Independence Institute, et. al. v. Bernie Buescher 1:2010-cv-00609. (US 10th Circuit) [Provided
               empirical analysis for the Office of the Colorado Attorney General to defend Secretary of State’s enforcement
               of public disclosure laws for ballot issue committees], 2009-2010.
    Lead Author, “Direct Democracy Scholars” Amicus Brief, Doe v. Reed, 132 S. Ct. 449. [Provided empirical evidence that
               public disclosure of signatures on ballot measures serves sufficiently important governmental interests in order
               to prevent fraudulent signature gathering activities, to limit the deceptive solicitation of signatures, and to
               provide information to voters about ballot measures], 2010.
    Expert (written affidavit), Dallman, et al. v. William Ritter and Rich L. Gonzales and Daniel Ritchie, et al 09SA224 (Colorado
               Supreme Court) [Provided empirical analysis for Ritter, Gonzales, and Ritchie of analysis of campaign financing
               of ballot measures], 2009-10.
    Expert (written affidavit), Sampson v. Buescher, 08-1389, 08-1415 (US 10th Circuit) [Provided empirical analysis refuting
               claims of barriers to participation in ballot issue campaigns for Office of the Colorado Attorney General,
               defending Secretary of State’s enforcement of disclosure laws], 2007-10.
    Consultant, Trust the Voters, Tallahassee, 2006.
    Consultant, The Washington State Patrol Troopers Association [Conducted empirical analysis for State Patrol Troopers of the
               validity of signatures collected on ballot issue campaign], 2006.
    Expert (written affidavit), The City of Winter Springs, FL v. Seminole County, City of Winter Springs, 2004.
    Expert (written affidavit), California Pro-Life Council, Inc. v. Karen Getman, et al. 328 F.3d 1088, 1101 (US 9th Cir) [Provided
               empirical analysis for the Office of the California Attorney General on veiled political actors in California ballot
               measure campaigns], 2004-05.
    Expert (written affidavit), Colorado Right to Life Committee, Inc. v. Donetta Davidson 395 F.Supp.2d 1001 (US 10th Circuit)
               [Provided empirical analysis of broadcasted television and direct mail ads in Colorado between 1999-2003 for
               the Office of the Colorado Attorney General], 2004-05.
    Invited Testimony, Ballot Initiative Reform, Florida Legislature, 2002; 2003-05.
    Invited Testimony Witness, Ballot Initiative Reform, Colorado Legislature, 1999-2000.
    Consultant (pro bono), Ad Hoc Committee to Defend Heath Care, Denver, CO, 1998-2000.

    International Consulting
    Consultant, National Democratic Institute (NDI), Ghana, 2013.
    Invited Written Testimony, British House of Lords, Constitution Committee (Direct Democracy), 2010.
    Consultant, Institute of International Education (IIE)), New York, 2002-04.
    Consultant, Coalition of Domestic Elections Observers (CODEO), Accra, Ghana, 2000-01.
    Consultant, International Foundation for Election Systems (IFES), Washington, DC, 1999-2001.
    Consultant, International Student Exchange Program (ISEP), Washington, DC, 1995-97.
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    BOOK REVIEWS & REVIEW ESSAYS
    9) Daniel A. Smith. 2008. Review of Dorothy Holland, Donald M. Nonini, Catherine Lutz, Lesley Bartlett, Marla
             Frederick-McGlathery, Thaddeus C. Guldbradsen, and Enrique G. Murillo, Jr., Local Democracy Under Siege:
             Activism, Public Interests, and Private Politics, Perspectives on Politics 6: 386-86.
    8) Daniel A. Smith. 2006. Review of Stephen Nicholson, Voting the Agenda: Candidates, Elections, and Ballot
             Propositions, Political Science Quarterly 120: 695-697.
    7) Daniel A. Smith. 2005. Review of John Matsusaka, For the Many or the Few? The Initiative, Public Policy, and
             American Democracy, Perspectives on Politics 3: 646-47.
    6) Daniel A. Smith. 2000. Review of Shaun Bowler and Todd Donovan, Demanding Choices: Opinion, Voting, and
             Direct Democracy, Social Science Quarterly 81: 1104-1106.
    5) Daniel A. Smith. 1999. Review of Shaun Bowler, Todd Donovan, Caroline Tolbert, eds., Citizens as Legislators,
             American Political Science Review 93: 446-447.
    4) Daniel A. Smith. 1998. Review of David Ryden, Representation in Crisis, Politics and Policy 26: 514-515.
    3) Daniel A. Smith. 1998. Review of Grant Reeher and Joseph Cammarano, eds., Education for Citizenship, H-Pol, H-
             Net. (February).
    2) Daniel A. Smith. 1997. Review Essay of William S. K. Reno, Corruption and State Politics in Sierra Leone, and Sahr
             John Kpundeh, Politics and Corruption in Africa, Africa Today 44: 362-365.
    1) Daniel A. Smith. 1996. Review of Stephen Lowe, The Kid on the Sandlot: Congress and Professional Sports, 1910-
             1992, Sport History Review 27: 90-92.

    TEACHING GRANTS, HONORS, AND AWARDS
    Anderson Scholar Award, College of Liberal Arts and Sciences, University of Florida, 2011; 2015; 2016; 2017
    Political Science Board of Advisors, “Outstanding Professor Award,” University of Florida, Spring 2008.
    Center for Teaching and Learning Technology Grant, “Introduction to American Politics: Web-Based Interactive
               Learning,” University of Denver, Spring, 1997.
    Faculty Appreciation Award, Learning Effectiveness Program, University of Denver, April 1997.
    Curriculum Diversity Grant, “A Theater History: The Racial and Class Politics of US Drama from Colonization
               Forward,” University of Denver, Winter, 1997.
    CORE Development Grant, “Drama of Politics/Politics of Drama,” University of Denver, Summer, 1996.
    International Small Grants, “Summer Student Study Abroad Program: University of Ghana at Legon,” Office of
               Internationalization, University of Denver, Spring, 1995.
    International Small Grants, “Ghana Study Abroad Program,” Office of Internationalization, University of Denver, Spring,
               1995.

    NEWSPAPER OP-EDS, INVITED BLOG POSTS & LETTERS TO THE EDITOR
    Op-Ed, “Minor postal delays could disenfranchise thousands of Florida vote-by-mail voters,” Tampa Bay Times, August
             14, 2020 (with Michael Herron).
    Op-Ed, “Here’s the problem with mail-in ballots: They might not be counted,” The Washington Post (Monkey Cage), May
             21, 2020 (with Enrijeta Shino and Mara Suttmann-Lea).
    Op-Ed, “Your voting habits may depend on when you registered to vote,” Salon, September 24, 2019. [Originally
             appeared in the Conversation] (with Enrijeta Shino).
    Invited Blog Post, “Who Votes Provisionally and Why? A Look at North Carolina’s 2016 General Election,” MIT
             Election Science Data Lab, May 2, 2018. (with Lia Merivaki).
    Op-Ed, “Do we have a right not to vote? The Supreme Court suggests we don’t,” NY Daily News, June 12, 2018 (with
             Michael C. Herron).
    Op-Ed, “If more states start using Ohio’s system, how many voters will be purged?” The Washington Post (Monkey Cage),
             June 17, 2018 (with Michael C. Herron).
    Op-Ed, “2-to-1 Registration Advantage for Democrats among 440K New Hispanic Voters In Florida,” Huffington Post,
             October 7, 2016.
    Op-Ed, “The Battle Over "One Person, One Vote," Has Just Begun,” The American Prospect, April 18, 2016. (with Carl
             Klarner).
    Invited Blog Post, “Party competition is the primary driver of the recent increase in restrictive voter ID laws in the
             American states,” London School of Economics, U.S. Politics and Policy, November 12, 2014.
    Op-Ed, “Rejected Ballots in Florida,” Florida Voices, November 4, 2012 (with Michael Herron).
    Op-Ed, “High ballot rejection rates should worry Florida voters,” Tampa Bay Times, October 28, 2012 (with Michael
             Herron).
    Op-Ed, “Voters need to push back against corporate cash,” St. Petersburg Times, July 13, 2010.
    Op-Ed, “A chance for Floridians to redraw rigged districts,” St. Petersburg Times, November 25, 2009.
    Op-Ed, “Lawmakers don’t trust voters with the constitution,” Gainesville Sun, October 21, 2006.
    Op-Ed, “Jeb Bush’s secret-squirrel hunt? Rocky, that’s just a bunch of Bullwinkle,” Orlando Sentinel, February 23, 2006.
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    Op-Ed, “Colorado: Independent of Whom?” Ballot Initiative Strategy Center, Ballot Blog, August 29, 2005.
    Op-Ed, “Stop Political Fund-Raising Arm,” Gainesville Sun, April 25, 2004 (with Nicole M. James).
    Op-Ed, “Committees Hold the Secret to Campaign Financing,” St. Petersburg Times, April 10, 2004 (with Nicole M.
              James).
    Letter, “Reform Ballot Initiative and Preserve the People’s Power,” Miami Herald, February 29, 2004.
    Op-Ed, “No: The Rich Have Taken Over,” Denver Post, December 1, 2002.
    Op-Ed, “The Millionaire’s Club: Why Leave Ballot Initiatives to the Rich?” Denver Post, August 18, 2002 .
    Op-Ed, “The Political Consequence of ‘Praying for Peace,’” The Crusading Guide [Accra, Ghana], 12-18 October, 2000.
    Letter, “Book’s [Democracy Derailed by David Broder] premise is problematic,” Denver Post, May 28, 2000.
    Letter, “Initiative process ignores rural voices,” Denver Rocky Mountain News, March 15, 2000.
    Op-Ed, “Progressives need to show initiative on ballot signatures,” Denver Post, January 13, 2000.
    Op-Ed, “Colorado should put campaign finance data on the Internet,” Denver Post, November 4, 1998 (with Richard
              Braunstein).
    Letter, “Follow the Money,” Washington Post, October 12, 1998.
    Op-Ed, “Voters behind rule,” Denver Post, June 21, 1998.
    Op-Ed, “Founders crafted safeguards against popular excesses,” Denver Post, May 21, 1995.



    CONFERENCE PAPER PRESENTATIONS
    “The Electoral Landscape after a Natural Disaster: Hurricane Michael's Effect on Turnout in Florida,” Southern
             Political Science Association Annual Meeting, January 8-11, 2020, San Juan, Puerto Rico (with William A.
             Zelin).
     “The Turnout Effects of Spanish Language Voting Materials,” Southern Political Science Association Annual Meeting,
             January 8-11, 2020, San Juan, Puerto Rico (with Emily Boykin and Jenna Tingum).
    “Voter Registration after Parkland and Early Voting on College Campuses,” American Political Science Association,
             Washington, DC, August 28-September 1, 2019 (with Enrijeta Shino).
    “Did Ballot Design Oust a US Senator? A Study of the 2018 Election in Florida,” American Political Science
             Association, Washington, DC, August 28-September 1, 2019 (with Michael C. Herron & Michael Martinez).
    “Barriers to Registering Returning Citizens in Florida,” American Political Science Association, Washington, DC, August
             28-September 1, 2019.
    “Ballot Design, Voter Intentions, and Representation: A Study of the 2018 Midterm Election in Florida,” Election
             Sciences, Reform, and Administration, University of Pennsylvania, July 10-12, 201 (with Michael C. Herron &
             Michael Martinez).
    “Mobilizing the Youth Vote? Early Voting on College Campuses in Florida,” 19 th State Politics and Policy Conference at
             the University of Maryland, May 30-June 1, 2019 (with Enrijeta Shino).
    “Did Ballot-Design Outs an Incumbent Senator? A Study of the 2018 Midterm Election in Florida,” Midwest Political
             Science Association Annual Meeting, April 4-7, 2019, Chicago (with Michael Herron and Michael Martinez).
    “Election Administration and Public Records Responsiveness,” Midwest Political Science Association Annual Meeting,
             April 4-7, 2019, Chicago (with Enrijeta Shino, Anna Baringer, Justin Eichermuller, and William Zelin).
     “Voter Registration after Parkland and Early Voting on College Campuses,” American Political Science Association,
             Washington, DC, August 28-September 1, 2019 (with Enrijeta Shino).
    “Did Ballot Design Oust a US Senator? A Study of the 2018 Election in Florida,” American Political Science
             Association, Washington, DC, August 28-September 1, 2019 (with Michael C. Herron & Michael Martinez).
    “Barriers to Registering Returning Citizens in Florida,” American Political Science Association, Washington, DC, August
             28-September 1, 2019.
    “Ballot Design, Voter Intentions, and Representation: A Study of the 2018 Midterm Election in Florida,” Election
             Sciences, Reform, and Administration, University of Pennsylvania, July 10-12, 201 (with Michael C. Herron &
             Michael Martinez).
    “Mobilizing the Youth Vote? Early Voting on College Campuses in Florida,” 19 th State Politics and Policy Conference at
             the University of Maryland, May 30-June 1, 2019 (with Enrijeta Shino).
    “Did Ballot-Design Outs an Incumbent Senator? A Study of the 2018 Midterm Election in Florida,” Midwest Political
             Science Association Annual Meeting, April 4-7, 2019, Chicago (with Michael Herron and Michael Martinez).
    “Election Administration and Public Records Responsiveness,” Midwest Political Science Association Annual Meeting,
             April 4-7, 2019, Chicago (with Enrijeta Shino, Anna Baringer, Justin Eichermuller, and William Zelin).
    “Estimating the Differential Effects of Purging Inactive Registered Voters,” American Political Science Association,
             Boston MA, August 28-September 1, 2018 (with Michael C. Herron).
    “Estimating the Differential Effects of Purging Inactive Registered Voters,” Election Sciences, Reform, and
             Administration, University of Wisconsin-Madison, July 26-27, 2018 (with Michael C. Herron).
    “Exact-Match Voter List Verification and Turnout,” 18th State Politics and Policy Conference at Penn State, June 7-9,
             2018 (with Michael P. McDonald, Pedro Otálora, and Enrijeta Shino).
    “Estimating the Differential Effects of Purging Inactive Registered Voters,” at the 18th State Politics and Policy
             Conference at Penn State, June 7-9, 2018 (with Michael C. Herron).
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    “Who are Provisional Voters? Evidence from North Carolina,” Midwest Political Science Association Annual Meeting,
              April 5-8, 2018, Chicago (with Lia Merivaki).
    “A History and Analysis of Black Representation in Southern State Legislatures,” Symposium on Southern Politics, The
              Citadel, Charleston, South Carolina, March 1-2, 2018 (with Charles S. Bullock III, William D. Hicks, M. V.
              (Trey) Hood III, Seth C. McKee, and Adam Myers).
    “Who are Provisional Voters? Evidence from North Carolina,” Southern Political Science Association Annual Meeting,
              January 4-7, 2018, New Orleans (with Lia Merivaki).
    “Naturalizing the Party: Party Registration and Voter Turnout of Foreign-Born Citizens,” State of the Party: 2016 &
              Beyond, November 10, 2017, Ray C. Bliss Institute of Applied Politics, University of Akron, Ohio (with Lidia
              Kurganova).
    “The Erosion of Liberal Democracy: Dissensus and Ideology in America,” American Political Science Association, San
              Francisco, August 31-September 3, 2017 (with William D. Hicks and Seth C. McKee.
    “Early Voting Availability and Turnout in Florida and North Carolina,” American Political Science Association, San
              Francisco, August 31-September 3, 2017 (with David Cottrell and Michael C. Herron).
    “Determinants of County Level Voter Turnout, 1970-2016,” American Political Science Association, San Francisco,
              August 31-September 3, 2017 (with Carl Klarner, Brian Amos, and Michael P. McDonald).
    “Waiting to Vote: Using EViD Data to Assess the Electoral Consequences of Long Voting Lines,” Midwest Political
              Science Association annual meetings, April 6-9, 2017, Chicago (with David Cottrell and Michael C. Herron).
    “Timing the Habit: Voter Registration and Turnout in the American States,” American Political Science Association,
              Philadelphia, September 1-4, 2016 (with Enrijeta Shino).
    “Revisiting Majority-Minority Districts and Black Representation,” American Political Science Association, Philadelphia,
              September 1-4, 2016 (with Seth C. McKee, William D. Hicks; Carl E. Klaner).
    “Defending Democracy: How Political Scientists Are Engaging in the Fight over Voting Rights (and Why You and Your
              Dept. Should too),” APSA Roundtable with Theda Skocpol, Presented by the Scholars Strategy Network,
              American Political Science Association, Philadelphia, September 1-4, 2016.
    “Timing the Habit: Voter Registration and Turnout in the American States,” State Politics and Policy Conference,
              University of Texas at Dallas, May 19-21, 2016 (with Enrijeta Shino).
    “Revisiting Majority-Minority Districts and Descriptive Representation,” State Politics and Policy Conference, University
              of Texas at Dallas, May 19-21, 2016 (with Seth C. McKee, William D. Hicks; Carl E. Klarner).
    “Purging Participation? Eligibility Challenges, Psychological Reactance, and the Decision to Vote,” Midwest Political
              Science Association annual meetings, April 7-10, 2016, Chicago (with Daniel Biggers and Bryce Freeman).
    “Missing Black Men and Representation in American Political Institutions,” Midwest Political Science Association
              annual meetings, April 7-10, 2016, Chicago (with David Cottrell, Michael Herron, and Javier Rodriguez).
    “Early Voting Effects on Pre-Election Poll Estimates,” Southern Political Science Association, January 7-10, 2016, San
              Juan, Puerto Rico (with Michael P. McDonald, Michael D. Martinez, and Chris McCarty).
    “Your Ballot’s in the Mail: The Effects of Unsolicited Absentee Ballots,” American Political Science Association, San
              Francisco, September 1-4, 2015 (with Michael Martinez)
    “A Reassessment of the Turnout Effects in of Election Reforms in the United States,” American Political Science
              Association, San Francisco, September 1-4, 2015 (with Michael P. McDonald and Enrijeta Shino).
    “Reprecincting and Voting Behavior,” American Political Science Association, San Francisco, September 1-4, 2015 (with
              Brian Amos and Casey Ste. Claire)
    “Looks Can Be Deceiving: Explaining Support for Online Voter Registration in the American States,” State Politics and
              Policy Conference, California State University, Sacramento, May 28-30, 2015 (with William Hicks and Seth
              McKee).
    “Public Opinion on Statewide Ballot Measures,” State Politics and Policy Conference, California State University,
              Sacramento, May 28-30, 2015 (with Diana Forster).
    “Early Voting Effects on Pre-Election Poll Estimates,” American Association for Public Opinion Research Annual
              Conference, May 14-17, 2015, Hollywood, Florida (with Michael P. McDonald, Michael D. Martinez, and Chris
              McCarty).
    “Dumbing Down the Electorate? Assessing the Political Knowledge of Early Voters,” Midwest Political Science
              Association annual meetings, April 15-19, 2015, Chicago (with Enrijeta Shino).
    “Race, Shelby County, and the Voter Information Verification Act in North Carolina,” American Political Science
              Association, Washington, DC, August 27-31, 2014 (with Michael C. Herron).
    “Who Signs? Ballot Petition Signatures as Political Participation,” American Political Science Association, Washington,
              DC, August 27-31, 2014 (with Diana Forster and Brian Amos).
    “Race, Shelby County, and the Voter Information Verification Act in North Carolina,” State Politics and Policy
              Conference, Indiana University, Bloomington, IN, May 15-17, 2014 (with Michael C. Herron).
    “The Effects of Spatial Proximity on Voting,” State Politics and Policy Conference, Indiana University, Bloomington,
              IN, May 15-17, 2014 (with Kenton Ngo).
    “Race, Shelby County, and the Voter Information Verification Act in North Carolina,” Midwest Political Science
              Association Conference, Chicago, April 3-6, 2014 (with Michael C. Herron).
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     “Beyond Regulatory Interpretation: The Demand and Supply of Provisional Ballots in Florida,” Symposium on
             Regulation in the U.S. States, DeVoe Center, Florida State University, Tallahassee, February 21, 2014 (with Lia
             Merivaki).
    “Evolution of an Issue: Voter ID Laws in the American States,” American Political Science Association Conference,
             Chicago, August 28-September 2, 2013 (with Seth McKee, William Hicks, and Mitch Sellers).
    “Closing the Door on Democracy”: Early Voting and Participation in Florida,” American Political Science Association
             Conference, Chicago, August 28-September 2, 2013 (with Michael Herron).
     “Evolution of an Issue: Voter ID Laws in the American States,” State Politics and Policy Quarterly 13th annual
             conference, University of Iowa, Iowa City, IA, May 23-25, 2013 (with Seth McKee, William Hicks, and Mitch
             Sellers).
    “Early Voting in Florida in the Aftermath of House Bill 1355,” State Politics and Policy Quarterly 13th annual
             conference, University of Iowa, Iowa City, IA, May 23-25, 2013 (with Michael Herron).
    “Racial Disparities in Provisional Ballot Rejection Rates,” Midwest Political Science Association Conference, Chicago,
             April 11-14, 2013 (with Michael Herron).
    “Who Registers? The Differential Impact of Florida’s House Bill 1355 on Voter Registration,” American Political
             Science Association Conference, New Orleans, August 30-September 2, 2012 (with Michael Herron).
    “The Effect of Polling Locations Upon Vote Choice: A Natural Experiment,” Southern Political Science Association
             Conference, Orlando, January 3-5, 2013 (with Charles Dahan).
    “Casting and Verifying Provisional Ballots in Florida,” Southern Political Science Association Conference, Orlando,
             January 3-5, 2013 (with Lia Merivaki).
    “Who Registers? The Differential Impact of Florida’s House Bill 1355 on Voter Registration,” American Political
             Science Association Conference, New Orleans, August 30-September 2, 2012 (with Michael Herron).
    “The Participatory Impact of Truncating Early Voting in Florida,” State Politics and Policy Quarterly 12th annual
             conference, Rice University, Houston, TX, February 16 – February 18, 2012 (with Michael Herron).
    “Engaging Potential Voters? The Collection of Valid Signatures on Ballot Petitions,” State Politics and Policy Quarterly
             11th annual conference, Dartmouth University, June 4-6, 2011 (with Diana Forster).
    “Pledging Democracy: Congressional Support for a National Advisory Initiative and Referendum,” Southern Political
             Science Association, January 5-8, 2011, New Orleans (presented by Matthew Harrigan).
    “We Know What You Did Last Summer: The Impact of Petition Signing on Voter Turnout,” State Politics and Policy
             Quarterly 10th annual conference, University of Illinois, Springfield, June 5-6, 2010 (with Janine Parry and
             Shayne Henry).
    “Reassessing Direct Democracy and Civic Engagement: A Panel Study of the 2008 Election,” State Politics and Policy
             Quarterly 10th annual conference, University of Illinois, Springfield, June 5-6, 2010 (with Caroline J. Tolbert
             and Amanda Frost).
    “Generating Scholarship from Public Service: Media Work, Nonprofit Foundation Service, and Legal Expert
             Consulting,” State Politics and Policy Quarterly 10th annual conference, University of Illinois, Springfield, June
             5-6, 2010.
    “Obama to Blame: Minority Surge Voters and the Ban on Same-Sex Marriage in Florida,” American Political Science
             Association Conference, Toronto, September 2-5, 2009 (with Stephanie Slade).
    “State Context and Support for a National Referendum in the U.S.” State Politics and Policy Quarterly 9th annual
             conference, UNC Chapel Hill/Duke University, May 22-23, 2009 (with Caroline J. Tolbert and .Amanda
             Frost).
    “Direct Democracy, Opinion Formation, and Candidate Choice,” American Political Science Association Conference,
             Boston, August 2008 (with Caroline J. Tolbert).
    “The Legislative Regulation of the Initiative,” State Politics and Policy Quarterly 8th annual conference, Temple
             University, Philadelphia, PA, May 30-31, 2008.
    “The Initiative to Shirk? The Effects of Ballot Measures on Congressional Voting Behavior,” State Politics and Policy
             Quarterly 8th annual conference, Temple University, Philadelphia, PA, May 30-31, 2008 (with Josh Huder and
             Jordan Ragusa).
    “Participatory-Based Trust? Political Trust and Direct Democracy,” American Political Science Association Conference,
             Chicago, August 2007 (with Caroline J. Tolbert and Daniel Bowen).
    “Giving Power to the People: The Adoption of Direct Democracy in the American States,” Western Political Science
             Association Conference, Las Vegas, NV, March 7-9, 2007 (with Dustin Fridkin)
    “Mass Support for Redistricting Reform: District and Statewide Representational Winners and Losers,” State Politics
             and Policy Quarterly 7th annual conference, Austin, TX, February 22-24, 2007 (with Caroline J. Tolbert and
             John C. Green).
    “Mass Support for Redistricting Reform: Partisanship and Representational Winners and Losers,” American Political
             Science Association Conference, Philadelphia, August 2006 (with Caroline J. Tolbert and John C. Green).
    “Gaming the System: The Effect of BCRA on State Party Finance Activities.” The State of the Parties: 2004 & Beyond. Ray
             C. Bliss Institute for Applied Politics, Akron, OH, October 2005 (with Susan Orr).
    “Do State-Level Ballot Measures Affect Presidential Elections?” American Political Science Association Conference,
             Washington, D.C., September 1-4, 2005 (with Caroline Tolbert and Todd Donovan).
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    “Did Gay Marriage Elect George W. Bush?” Fifth Annual Conference on State Politics and Policy, Michigan State University,
              East Lansing, MI, May 13-14, 2005 (with Todd Donovan, Caroline Tolbert, and Janine Parry).
    “Was Rove Right? Evangelicals and the Impact of Gay Marriage in the 2004 Election.” Fifth Annual Conference on State
              Politics and Policy, Michigan State University, East Lansing, MI, May 13-14, 2005 (with Matt DeSantis and Jason
              Kassel).
    “Partisanship, Direct Democracy, and Candidate Choice,” Midwest Political Science Association Conference, Chicago, IL, April
              7-10, 2005 (with Caroline Tolbert and Todd Donovan).
    “Did Gay Marriage Elect the President? Mobilizing Effects of Ballot Measures in the 2004 Election,” Western Political
              Science Association Conference, Oakland, CA, March 17-19, 2005 (with Todd Donovan and Caroline Tolbert).
    “Initiatives and Referendums: The Effects of Direct Democracy on Candidate Elections,” Conference on What We Know
              and Don’t Know about Campaigns and Elections, Graduate Program in Political Campaigning, University of Florida,
              Gainesville, FL, February 24-5, 2005.
    “Was Rove Right? The Partisan Wedge and Turnout Effects of Issue 1, Ohio’s 2004 Ballot Initiative to Ban Gay
              Marriage,” University of California Center for the Study of Democracy/USC-Caltech Center for the Study of Law and
              Politics/Initiative and Referendum Institute Conference, Newport Beach, CA, January 14-15, 2005.
    “The Educative Effects of Direct Democracy on Voter Turnout,” American Political Science Association Conference, Chicago,
              IL, September 1-5, 2004 (with Caroline Tolbert).
    “Turning On and Turning Out: Assessing the Indirect Effects of Ballot Measures on Voter Participation,” Fourth Annual
              Conference on State Politics and Policy, Kent State University, Kent, OH, April 30-May 2, 2004 (with Todd
              Donovan).
    “Veiled Political Actors: The Real Threat to Campaign Finance Disclosure Statutes?” Midwest Political Science Association
              Conference, Chicago, April 14-18, 2004 (with Elizabeth Garrett).
    “Elephants, Umbrellas, and Quarrelling Cocks: Disaggregating Party Identification in Ghana’s Fourth Republic,”
              Western Political Science Association Conference, Portland, OR, March 11-13, 2004 (with Kevin Fridy).
    “Gaming the System: State Party Finance Activities in Colorado and Florida,” Southern Political Science Association
              Conference, New Orleans, January 7-10, 2004.
    “The Educative Effects of Direct Democracy: Ballot Campaigns and Civic Engagement in the American States,” Societa
              Italiana di Studi Elettorali (SISE) VIIIth International Conference on Electoral Campaigns (Initiative and
              Referendum),Venice, Italy, December 18-20, 2003.
    “In the Wake of Prop. 13,” American Political Science Association Conference, Philadelphia, PA, August 27-31, 2003.
    “Soft Money and Issue Advocacy in the 2002 Colorado 7th Congressional District Election,” Western Political Science
              Association Conference, Denver, CO, March 26-30, 2003.
    “Educated by Initiative: Direct Democracy and Civic Engagement in the American States,” Third Annual Conference on
              State Politics and Policy, University of Arizona, Tucson, AZ, March 14-15, 2003 (with Caroline Tolbert).
    “Ballot Initiatives and the (Sub)Urban/Rural Divide in Colorado,” Colorado’s Future: How Can We Meet the Needs of a
              Changing State? University of Colorado at Colorado Springs, September 27, 2002.
    “Representation and the Spatial Dimension of Direct Democracy,” American Political Science Association Conference, Boston,
              MA, August 29-September 1, 2002.
    “Representation and the Spatial Bias of Direct Democracy,” Second Annual Conference on State Politics and Policy,” University
              of Wisconsin-Milwaukee, Milwaukee, WI, May 24-25, 2002.
    “Minority Rights and the Spatial Bias of Direct Democracy,” Southwestern Political Science Association Conference, New
              Orleans, LA, March 27-30, 2002.
    “Representation and the Urban Bias of Direct Democracy,” Western Political Science Association Conference, Long Beach, CA,
              March 21-24 2002.
    “Ghost Busters: The Structural Underpinnings and Politics of Ghana’s 2000 Elections,” African Studies Association
              Conference, Houston, TX, November 15-18, 2001.
    “The Effect of Ballot Initiatives on Voter Turnout,” American Political Science Association Conference, Washington, DC,
              August 31-September 3, 2000 (with Caroline Tolbert and John Grummel).
    “Campaign Finance of Ballot Initiatives,” National Direct Democracy Conference, University of Virginia’s Center for
              Governmental Studies, Charlottesville, VA, June 8-9, 2000.
    “Meet the Authors Roundtable: Recent Books on Direct Democracy in the States,” Midwest Political Science Association
              Conference, Chicago, April 27-30, 2000.
    “Counter-Majoritarian Bills and Legislative Response of State Ballot Initiatives,” Western Political Science Association
              Conference, San Jose, March 24-26, 2000.
    “The Gun Behind the Door Fires Blanks,” Pacific Northwest Political Science Association Conference, Eugene, OR, October 14-
              16, 1999.
    “Orange Crush: Mobilization of Bias, Ballot Initiatives, and the Politics of Professional Sports Stadia,” American Political
              Science Association Conference, Atlanta, September 2-5, 1999 (with Sure Log).
    “Direct Democracy in Colorado: Limited Information, Tough Choices,” A Century of Citizen Lawmaking: Initiative and
              Referendum in America, Initiative and Referendum Institute, Washington, D.C., May 6-8, 1999.
    “The Initiative to Party: The Role of Political Parties in State Ballot Measures,” Western Political Science Association
              Conference, Seattle, March 25-28, 1999.
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    “Direct Democracy in the Late 20th Century: The Legacy(ies) of Prop. 13,” Roundtable, American Political Science
              Association Conference, Boston, September 3-6, 1998.
    “The Legacy of Howard Jarvis and Proposition 13? Tax Limitation Initiatives in 1996,” Western Political Science Association
              Conference, Los Angeles, March 19-21, 1998.
    “Special Interests and the Initiative Process in Colorado: The Case of the Parental Rights Amendment” (with Robert
              Herrington), Poster Session, American Political Science Association Conference, Washington, D.C., August 28-31,
              1997.
    “Howard Jarvis, Populist Entrepreneur: Reevaluating Causes of Proposition 13,” Western Political Science Association
              Conference, Tucson, March 13-15, 1997.
    “Guided Immersion: A Non-Traditional Study Abroad Program at the University of Ghana at Legon,” Midwest Political
              Science Association Conference, Chicago, April 10-12, 1997.
    “Exploring the Political Dimension of Privatization: A Tale of Two Cities” (with Kevin Leyden), Midwest Political Science
              Association Conference, Chicago, April 18-20, 1996.
    “Populist Entrepreneur: Douglas Bruce and the Tax Limitation Movement in Colorado,” 20th Annual Interdisciplinary
              Symposium of the Politics and Culture of the Great Plains, Lincoln, April 11-13, 1996.
    “Faux Populism: Douglas Bruce and the Anti-Tax Moment in Colorado, 1986-1992,” Western Political Science Association
              Conference, San Francisco, March 14-16, 1996.
    “Insular Democracy: Advisory Councils and Task Forces in the American States,” Western Political Science Association
              Conference , Portland, March 1995.
    “Supporting Labor-Management Initiatives at the State Level: The Case of the West Virginia Labor-Management
              Advisory Council,” Southern Industrial Relations and Human Resource Conference, Morgantown, WV, October 1994.
    “State Autonomy, Capacity, and Coherence: Labor-Management Councils in the American States,” Western Political Science
              Association Conference, Albuquerque, March 1994.
    “Removing the Pluralist Blinders: Labor-Management Councils and Industrial Policy in the American States,” American
              Political Science Association Conference, Chicago, September 1992.
    “You Can’t Live with Them...The Emerging Role of Organized Labor in Industrial Policy in the American States,”
              Midwest Political Science Association Conference, Chicago, April 1992.
    “It Can Happen Here: Apprenticeship, Workplace-based Learning, and the Affirmative Role of Unions” (with Eric
              Parker), Southwestern Political Science Association Conference, Austin, TX, March 1992.
    “The Affirmative Role of U.S. Unions in Restructuring” (with Eric Parker), American Sociological Association Conference,
              Indianapolis, IN, August 1991.
    “Economic Development Strategy and the Problem of Skills: The Case of Wisconsin’s Advanced Metalworking Sector”
              (with Eric Parker), American Society for Public Administration Conference, Cleveland, OH, October 1990.

    INVITED TALKS AND OTHER PROFESSIONAL PRESENTATIONS
    Keynote Speaker, “6 Things Every Democrat Should Know about Florida Elections,” Democratic Women’s Club of
             Florida, 63rd Annual Convention, Orlando, September 14, 2019.
    Invited Talk, “5 Things Every Floridian Should Know about Florida Elections,” Stetson University, April 25, 2019.
    Invited Talk, “The 2018 Mid-Term Elections,” Graham Center, University of Florida, Gainesville, Florida, November
             13, 2018.
    Invited Talk, “Is a Blue Wave Coming? The 2018 General Election,” FedCon, National Association of Retired Federal
             Employees Association, Jacksonville, Florida, August 28, 2018.
    Invited Talk, “Voting Rights Litigation,” ACLU of Florida, 2018 Lawyers Conference, Delray Beach, Florida, September
             7, 2018.
    Invited Panelist, “The Black Vote: Is it being taken for Granted?” Collaboratively Woke and The Virginia Leadership Institute,
             Downtown Alachua Public Library, Gainesville, Florida, June 23, 2018.
    Invited Talk, “Public Records Requests and Analyzing Elections in Florida,” The Bob Graham Center for Public
             Service, University of Florida, Gainesville, Civic Scholar Lecture, February 14, 2018.
    Invited Talk, “Voting in Florida,” Voter Suppression Forum, The Bob Graham Center for Public Service, University of
             Florida, Gainesville, November 13, 2017.
    Invited Talk, “Journalist-Scholar Big Data Partnerships,” Investigative Reporters and Editors, The National Institute for
             Computer-Assisted Reporting, Annual Conference, Jacksonville, FL, March 2, 2016.
    Invited Talk, “Florida’s Constitutional Revision Commission and Game Theory,” Future of Florida Summit, University
             of Florida, Gainesville, Florida, February 18, 2016.
    Invited Talk, “Explaining Trump’s Win in Florida: 10 Election Myths and Realities,” Graham Center, University of
             Florida, Gainesville, Florida, November 14, 2016.
    Invited Response, Michael Kang (Emory School of Law) “Law and Politics of Judging Election Cases,” University of
             Florida School of Law, Gainesville, Florida, November 4, 2016.
    Invited Talk, “Patterns of Political Participation in Florida,” Women, Race, and the U.S. Presidency, The Center for The
             Study of Race and Race Relations & The Center for Gender, Sexualities, and Women’s Studies Research,
             University of Florida, Gainesville, October 13, 2016.
    Invited Talk, “The Structural Pathologies of the American Electoral System,” US Fulbright Association (UF
             International Center), Gainesville, September 27, 2016.
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    Invited Talk, “Registered Voters and Turnout in Alachua County,” Gainesville Area Chamber of Commerce’s
             Leadership Gainesville 43 Government and Policy Day, September 8, 2016.
    Invited Talk, “The Politics of Voter Suppression in Florida,” Santa Fe College, American Democracy Project, February
             9, 2016.
    Invited Talk, “The Contributions and Conundrums of Technology: EAVS Data Reporting Consistency,” at The
             Evolution of Election Administration since the VRA, Auburn University, September 15, 2015 (with Lia
             Merivaki).
    Invited Talk, “2014 Election Wrap-Up,” Graham Center, University of Florida, Gainesville, Florida, November 6, 2014.
    Roundtable Participant, “I Am A Millennial: The Importance of the Youth and Minority Vote,” Graham Center,
             University of Florida, October 23, 2014.
    Invited Talk, “Voting Rights in North Carolina,” Emory University, Atlanta, April 8, 2014.
    Keynote Speaker, “Anticipating 2014: The State of Voting Rights in Florida,” Gainesville Labor Council, Gainesville,
             Florida, December 9, 2013.
    Invited Talk, “Design Fail: The Attack on Voting Rights in Florida,” University of Florida Retired Faculty, Harn
             Museum, University of Florida, February 22, 2013.
    Keynote Speaker, “The Attack on Voting Rights in Florida,” Gainesville Labor Council, Gainesville, Florida, December
             10, 2012.
    “Moved by the Spirit? Atmospherics and Ballot Measure Vote Choice,” Initiatives and Referendums in the Elections of
             2012, University of Southern California, November 16, 2012 (with Charles Dahan).
    Invited Talk, “Design #Fail: Voting Rights in Florida,” Graham Center’s Election Wrap Up: Decision 2012, University
             of Florida, Gainesville, Florida, November 13, 2012.
    Invited Talk, “Consolidating Representation in Ghana? Parliamentary Malapportionment and Rejected Ballots,” Stability
             Amidst Chaos: Reflections on Two Decades of Ghanaian Democracy, Program of African Studies, Northwestern
             University, Chicago, Illinois, October 12, 2012.
    Keynote Speaker, “Curtailing Voting Rights in Florida,” Civic Dialogues and the 2012 Election in the United States, College of
             Central Florida, Ocala, Florida, October 22, 2012.
    Keynote Speaker, “The Return of Jim Crow? Voting Rights Under Florida’s House Bill 1355,” League of Women
             Voters, Annual Fall Luncheon, Gainesville, Florida, September 11, 2012.
    Invited Talk, “Litigating Voting Rights in Florida,” 8th Judicial Circuit Florida Bar Association, Continuing Legal
             Education, Gainesville, Florida, September 21, 2012.
    Invited Presentation, “The Impact of HB 1355 on Florida’s Hispanics,” Gator Academic Outreach Symposium, co-
             hosted by Hispanic Alumni Association and Miami-Dade College, Miami, FL, May 11, 2012.
    Invited Talk, “Voting and Elections in the United States,” US Embassy, Accra, Ghana, live satellite talk to US Embassy,
             Ivory Coast, October 3, 2011.
    Invited Public Lecture, “Ghana’s National Electoral Commission and the 2012 Elections: The Malapportionment of
             Parliamentary Constituencies, Rejected Ballots, and Questions of Representation,” Department of Political
             Science International Lecture Series, University of Ghana, Accra, Ghana, November 17, 2011. [Q&A followed
             by several media interviews, including RadioUniverse, Ghana Television Broadcasting and TV3].
    Invited Public Lecture, “Assessing the Credibility of Public Opinion Polls,” Ghana Center for Democratic Development
             (CDD-Ghana), Accra, Ghana, November 23, 2011. [Taped broadcast by TV3 and several FM stations].
    Invited Talk, “Obama to Blame?” Penn State University, February 26, 2010.
    Invited Talk, “Shirking the Initiative?” Rutgers University, November 6-7, 2008.
    Invited Talk, “Granting Power to the People: The Adoption of Direct Democracy in the American States,” Bose Series
             Lecturer, University of Iowa, Iowa City, November 7-10, 2007.
    Invited Talk, “Instrumental Effects of the Initiative in the American States,” The Voice of the Crowd—Colorado’s
             Initiative, Byron R. White Center for the Study of American Constitutional Law, University of Colorado,
             Boulder, Old Supreme Court Chambers, Colorado State Capitol, Denver, January 26, 2007.
    Invited Paper/Presentation, “Initiating Reform: The Effects of Ballot Measures on State Election and Ethics Policy,”
             2008 and Beyond: The Future of Election and Ethics Reform in the States, Ohio State Capital Building, Kent
             State University, January 16, 2007.
    Invited Paper/Presentation, “Financing Ballot Measures in the American States,” Financing Referendum Campaigns
             Conference, University of Zurich, Switzerland, October 27-29, 2006.
    Invited Talk, “Pressure at the Polls/Ballot Initiatives,” Capitol Beat Conference, Columbus, OH, August, 2006.
    Invited Talk, “Turnout and Priming Effects of Ballot Initiatives,” Ballot Initiative Strategy Center Spring Briefing,
             National Education Association, Washington, DC, May 11, 2006.
    Invited Talk, “The People as Legislators: The Influence of Direct Democracy,” Moritz College of Law, Ohio State
             University. Columbus, OH, March 3, 2006.
    Invited Public Debate, “Initiative Reform in Florida,” Orlando Regional Chamber of Commerce, Orlando, FL, February 23,
             2006.
    Invited Talk, “Direct Democracy: The Battle over Citizen Lawmaking,” Minnesota Council of Nonprofits, Public Policy Day
             2006: Nonprofits as a Force for Change, Minneapolis, MN, January 26, 2006.
    Keynote Speaker, “Taking the Initiative in Florida,” National Conference of Editorial Writers Regional Conference,
             University of Central Florida, Orlando, FL, October 16, 2005.
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    Panelist, “The Educative Effects of Direct Democracy,” Direct Democracy: Historical Roots and Political Realities, The Bill
              Lane Center for the Study of the North American West, Stanford University, Stanford, CA, April 14-15, 2005.
    Panelist, “The Initiative and Referendum Process,” The 2004 Election: What Does it Mean for Campaigns and Governance?
              University of Southern California Law School, Los Angeles, CA, October 8, 2004.
    Invited Talk, “Florida’s Initiative Process,” Oak Hammock, Gainesville, FL, October 21, 2004.
    Invited Talk, “Educated by Initiative,” Oak Hammock, Gainesville, FL, October 6, 2004.
    Invited Talk, “Are Initiatives Good or Bad for Business,” National Chamber of Commerce Federation, Boca Raton, FL,
              February 22, 2004.
    Panelist, “Roundtable on Florida Politics,” UF-FSU Colloquium, Gainesville, FL, November 10, 2003.
    Panelist, “Initiatives and Referenda: Implications for Public Administration and Governance,” National Academy of Public
              Administration, Washington, DC, October 22, 2003.
    Panelist, “Initiatives and Referenda: Direct Democracy or Government for Sale?” New York Bar Association, New York
              City, May 8, 2003.
    Keynote Speaker, “Direct Democracy in Colorado: The (Sub)Urban-Rural Divide,” Colorado Water Congress Annual
              Meeting, Denver, November 8, 2002.
    Invited Talk, “Prospects for a Universal Health Care Ballot Initiative in Florida,” Alachua County Labor Party,
              Gainesville, FL, January 25, 2002.
    Invited Talk, “The 2000 Ghana Elections: Lessons for the Future,” The Center for African Studies, University of Florida,
              Gainesville, August 28, 2001.
    Panelist, “Graduate Studies in Canada and U.S.,” University of Ghana at Legon, Accra, Ghana, March 14, 2001.
    Invited Talk, “Media Coverage of the 2000 [Ghanaian] Elections,” Ghana Center for Democratic Development (CDD-Ghana),
              Accra, Ghana, March 2, 2001.
    Invited Talk, “Ghana’s 2000 Elections: The ‘Politics of Absence,’” Ghana Center for Democratic Development (CDD-Ghana),
              Accra, Ghana, February, 20, 2001.
    Panelist, “Special Forum on U.S. Presidential Elections 2000,” University of Ghana at Legon, Accra, Ghana, November 21,
              2000.
    Invited Talk, “The Role of The Media in US Elections,” Public Affairs Section, United States Embassy, Accra, Ghana,
              October 31, 2000.
    Facilitator, “Three’s A Crowd? The Fate of Third Parties in America,” Humanities Institute Salon, Denver, May 4, 11, & 18,
              2000.
    Chair and Discussant, “Factors Affecting the Success of Initiatives,” Western Political Science Association Conference, San Jose,
              March 24-26, 2000.
    Invited Talk, “The Progressive Myth: Direct Democracy in Colorado, 1912,” Willamette University, February 3, 2000.
    Invited Talk, “The Initiative to Party: The Partisan - Ballot Initiative Nexus,” Willamette University, February 3, 2000.
    Invited Talk, “Taking the Initiative into the 21st Century,” Colorado Water Congress Annual Meeting, Broomfield, January
              27, 2000.
    Invited Talk, “Foundations of the American Political System,” Zhejiang University, Zhejiang, China, October 13, 1999.
    Invited Talk, “Trade, Taiwan, Tiananmen, and Theft: Partisanship in US-China Relations,” Fudan University, Shanghai,
              China, October 11, 1999.
    Invited Talk, “Republicans, Democrats, and US-China Relations,” The People’s University, Beijing, China, October 9, 1999.
    Invited Talk, “US-China Relations and the 2000 Presidential Election,” China Institute of Contemporary International Relations,
              Beijing, China, October 7, 1999.
    Invited Talk, “Taking the Initiative: The Role of Money in Ballot Initiatives in the US,” Aspen Community & Institute
              Committee, Aspen, August 10, 1999.
    Facilitator, “Taking the Initiative: The Politics of Direct Democracy in Colorado,” Humanities Institute Salon, May 20, May
              27, & June 3, 1999.
    Invited Talk, “The State of Direct Democracy in Colorado,” American Center Series, University of Colorado at Boulder,
              April 9, 1999.
    Participant, “TABOR: Today & Tomorrow,” Graduate School of Public Affairs, University of Colorado at Denver, January
              20-21, 1999.
    Keynote Speaker, Colorado Water Congress Annual Meeting, “The Initiative Process: What You Need to Know,” November
              10, 1998.
    Invited Talk, “The Political Economy of the Bronco’s New Stadium Proposal,” George Washington High School, Reach
              Out DU, October 15, 1998.
    Invited Talk, “The Political Economy of the Bronco’s New Stadium Proposal,” Cherry Creek High School, Reach Out
              DU, October 15, 1998.
    Invited Talk, “Tax Crusaders and the Politics of Direct Democracy,” Tattered Cover Bookstore, Denver, August 20,
              1998.
    Academic Session Leader, “The Politics of Building a New Broncos Stadium,” West High School VIP Program,
              University of Denver, April 17, 1998.
    Participant, “Proposition 13 and its Progeny: Is California Suffering from an Excess of Democracy?” Institute of
              Governmental Studies, University of California, Berkeley, April 1-2, 1998.
    Moderator, “Politics 101,” Student Forum, University of Denver, March 3, 1998.
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    Panelist, “Ways to use Technology in Teaching,” Dean’s Luncheon on Teaching and Learning, University of Denver,
              February 20, 1998.
    Panelist, “The End of Empire in Ghana, 1957,” The End of Empire: 50 Years of British Withdrawal, Center for
              Teaching International Relations, University of Denver, February 7, 1998.
    Moderator, “1996 Candidate Forum,” DU Programs Board, University of Denver, October 28, 1996.
    Invited Talk, “Election 1996,” KARIS Community, Denver, October 24, 1996.
    Invited Talk, “Faux Populism: Douglas Bruce, Populist Entrepreneur, and the Anti-Tax Moment in Colorado,”
              Humanities Institute, University of Denver, October 17, 1996.
    Panelist, “The Federal Budget Battle,” Sponsored by Omicron Delta Epsilon and Pi Sigma Alpha, University of Denver,
              October 2, 1995.
    Invited Talk, “US Energy Policy,” Highlands Ranch High School, Reach Out DU, November 10, 1995.
    Panelist, “Study Abroad,” Second Annual University Conference: Internationalization at the University of Denver,
              University of Denver, April, 1994.
    Chair and Panelist, “African Studies,” Second Annual University Conference: Internationalization at the University of
              Denver, University of Denver, April, 1994.
    Panelist, “Public Policy and Work Force Participation: Making the School-to-Work Transition,” Public Policy and Work
              Force Participation Seminar, University of Pittsburgh, September 15, 1993.
    Rapporteur, “City$Money Conference,” The La Follette Institute for Public Affairs, University of Wisconsin-Madison,
              February 4-6, 1992.

    EDITORIAL/ADVISORY BOARDS/REVIEWER
             Review Board, National Science Foundation, 2016
             Editorial Board, State Politics and Policy, 1999-2007; 2014-2016
             Editorial Board, Election Law Journal, 2012-2016.
             Review Board, American Political Science Association (APSA) Small Research Grant Program, 2004-05.
             Review Board, Fulbright/ American Political Science Association (APSA) Congressional Fellowship Program, 2002-2005.
             Academic Advisory Board, Annual Editions, State & Local Government (Brown & Benchmark), 1995-.
             Sub-Field Editor, State Politics, FirstResearch, 1999-2001.

    PROFESSIONAL MEMBERSHIPS
    American Political Science Association, 1990-
             State Politics and Policy Section, 2000-
                        President, 2013-2015
                        Executive Council, 2010-2012
             Political Organizations and Parties Section, 2000-
    Midwest Political Science Association, 1990-
    Southern Political Science Association, 2001-
    Western Political Science Association, 1994-
             Local Co-Host, Annual Meeting (Denver), 2003
             Chair, Committee on Membership, Attendance, and Registration, 1998-2000
             Section Chair, State Politics and Policy, 1999 Annual Conference (Seattle)
             Member, Charles Redd Politics of the American West Award Committee, 1999
             Chair, Best Dissertation Award Committee, 1999-2001
    Florida Political Science Association (1994-)
             Section Chair, State Politics, 2004 Annual Conference (Gainesville)

    PROFESSIONAL APPOINTMENTS
    Research Associate, Ghana Center for Democratic Development (CDD-Ghana), Accra, Ghana, 2011.
    Research Scholar, Bill Lane Center for the Study of the American West, Stanford University, 2007.
    Senior Research Scholar, Ballot Initiative Strategy Center Foundation (BISCF), Nonprofit 501 (c)(3), Washington, DC,
             (www.ballot.org), 2006.
    Board of Directors, Ballot Initiative Strategy Center Foundation (BISCF), Nonprofit 501 (c)(3), Washington, DC, 2000-2019.
    Board of Scholars, Initiative & Referendum Institute, USC Law School, University of Southern California, 2004-.
    Senior Research Fellow, Initiative & Referendum Institute, Washington, DC, 1998-2003.
    Research Associate, Ghana Center for Democratic Development (CDD-Ghana), Accra, Ghana, 2000-01.
    President & Co-Founder, Citizens Institute for Voter Information in Colorado (CIVIC), Denver, CO, 1998-2001.

    UNIVERSITY SERVICE
    University of Florida
             College/University
             Appointed Member, Latin American Studies Search Committee (Latino Studies), 2014-15
             Appointed Member, Political Science/African Studies Search Committee, 2013-14
             Appointed Member, 20th Century American History Search Committee (History), 2008-09
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             Appointed Member, Latino Studies Search Committee (LAS), 2006-07
             Departmental Representative, United Faculty of Florida, 2003-
             Alternate Senator, United Faculty of Florida, 2005-
             State Delegate, Florida Education Association, 2006-
             Elected Member, College of Arts and Sciences, Nominating Committee, 2004-06
             Appointed Member, University of Florida Fulbright Committee, 2003-07

             Department
             Chair, 2017-
             Graduate Coordinator, 2014-2016
             Associate Chair, 2013-2014
             Appointed Member, Informatics Search Committee (Departmental Representative), 2013-14
             Appointed Member, Promotion (Full) Review Committee (Service), Leonardo Villalon, 2011
             Appointed Member, Promotion (Full) Review Committee (Research), Badredine Arfi, 2010
             Elected Member, Chair’s Advisory Committee, 2004-05; 2006-07 (Chair); 2007-08 (Chair); 2010-11; 2012-13
             Elected Member, Chair Search Committee, 2004; 2009
             Appointed Member, Tenure Review Committee (Research), Daniel O’Neill, 2008
             Appointed Faculty Mentor, State Senator Mike Haridopolos, 2008-09
             Appointed Member, Strategic Planning Committee, 2008-09
             Appointed Director, Graduate Program in Political Campaigning, 2007-11
             Appointed Member, Committee to establish Undergraduate Certificate in Political Campaigning, 2007
             Elected Member, Market Equity Committee, 2006-07 (Chair); 2007-08; 2008-09 (Chair)
             Appointed Internship Coordinator, 2005-
             Elected Member, Merit Committee, 2004-05; 2005-06; 2006-07 (Chair)
             Appointed Faculty Mentor, Marcus Hendershot, 2006-
             Appointed Faculty Mentor, Helena Rodriques, 2005-06
             Appointed Member, Ad-Hoc Graduate Teaching Committee, 2005-06
             Appointed Member (Chair), Latino Politics Search Committee, 2004-05
             Appointed Member, Tenure and Promotion Committee (Samuel Barkin), 2004.
             Appointed Member, Mid-Career and Mentoring Task Force, 2004-05
             Appointed Member, Speakers Committee (Chair), 2003-05.
             Appointed Member, Tenure and Promotion Committee (Richard Conley), 2003.
             Appointed Member, Political Science Best Undergraduate Paper Award Committee, 2003-04

    University of Denver
             Social Science Promotion and Tenure Committee, 1999-2000
             Joint Ph.D. Program in Religious and Theological Studies, (with Iliff School of Theology), 1999-2002
             AH/SOCS Grade Appeals Committee, 1999-2001
             Phi Beta Kappa Selection Committee, Gamma of Colorado, 1998-2002
             Partners in Scholarship (PINS) Committee, 1997-2000
             AH/SOCS Elected Faculty Committee, 1996-98
             Post-Tenure Review Committee, 1996-98
             SOAR (Summer Orientation), 1997-2000
             Faculty Senate Representative, 1995-1996
             Study Abroad Faculty Advisory Committee, 1995-2000
             Study Abroad Travel Scholarships Committee, 1995-2000
             Faculty Member, Culture and Critical Studies Program, 1995-2000
             Faculty Mentor, 1995-2000
             Reach-Out DU, 1995-2000
             Advisor, Department of Political Science Honors Program, 1995-1996


    MEDIA INTERVIEWS
    Quoted more than 1,000 times by the media (newspaper, radio, television) on various political issues, including the New York
           Times, Wall Street Journal, Washington Post, USA Today, Bloomberg, The Economist, Newsweek, Time, CNN, CBS News, Fox
           News, National Public Radio, Tampa Bay Times, Miami Herald, Florida Times-Union, San Francisco Chronicle, Los Angeles
           Times, Chicago Tribune, Boston Globe, etc.
